     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 1 of 45



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                               NORTHERN DISTRICT OF CALIFORNIA
14
                                      SAN FRANCISCO DIVISION
15

16
     IN RE: VOLKSWAGEN “CLEAN                       MDL No. 2672 CRB
17   DIESEL” MARKETING, SALES
     PRACTICES, AND PRODUCTS                        The Honorable Charles R. Breyer
18   LIABILITY LITIGATION

19                                                  MOTION FOR FINAL APPROVAL OF
     This Document Relates to:                      CLASS SETTLEMENT AND AWARD OF
20                                                  ATTORNEYS’ FEES AND COSTS
     Porsche Gasoline Litigation
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                                                                 MOTION FOR FINAL APPROVAL OF CLASS
                                                             SETTLEMENT AND ATTORNEYS’ FEES & COSTS
     2456143.6                                                                       MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 2 of 45



 1                                                       TABLE OF CONTENTS
 2                                                                                                                                           Page
 3   I.          INTRODUCTION .............................................................................................................. 1
     II.         BACKGROUND AND PROCEDURAL HISTORY ......................................................... 2
 4
                 A.   The Settlement provides Class members with substantial cash
 5                    compensation. ......................................................................................................... 3
                 B.   The Case was complex, risky, and thoroughly investigated. .................................. 5
 6
                 C.   The Notice Program is proving a success, and Class members are already
 7                    engaged and participating in the streamlined claims process in significant
                      numbers. .................................................................................................................. 7
 8   III.        ARGUMENT ...................................................................................................................... 8
 9               A.   The Settlement Class satisfies all requirements of Rule 23 and should be
                      certified. .................................................................................................................. 8
10                    1.      Rule 23(a)(1): The Class is sufficiently numerous. .................................... 8
11                    2.      Rule 23(a)(2): The Class Claims present common questions of law
                              and fact. ....................................................................................................... 9
12                    3.      Rule 23(a)(3): The Settlement Class Representatives’ claims are
                              typical of other Class members’ claims. ................................................... 10
13
                      4.      Rule 23(a)(4): The Settlement Class Representatives and Class
14                            Counsel have and will protect the interests of the Class. .......................... 11
                      5.      Rule 23(b)(3)—Predominance: Common issues of law and fact
15                            predominate. .............................................................................................. 11
16                    6.      Rule 23(b)(3)—Superiority: Class treatment is superior to other
                              available methods for the resolution of this case. ..................................... 12
17               B.   The Settlement is fair, reasonable, and adequate. ................................................. 14
18                    1.      Rule 23(e)(2)(A): Class Counsel and the Settlement Class
                              Representatives have and will continue to zealously represent the
19                            Class. ......................................................................................................... 14
                      2.      Rule 23(e)(2)(B): The Settlement is the product of good faith,
20                            informed, and arm’s-length negotiations. ................................................. 15
21                         3.         Rule 23(e)(2)(C): The Settlement provides substantial
                                      compensation in exchange for the compromise of strong claims. ............ 17
22                                    a.     The Settlement mitigates the risks, expenses, and delays the
                                             Class would bear with continued litigation. .................................. 18
23
                                      b.     Class members will obtain relief through a straightforward
24                                           claims process. .............................................................................. 19
                                      c.     Counsel seek reasonable attorneys’ fees and costs. ...................... 20
25
                           4.         Rule 23(e)(2)(D): The Proposed Settlement treats all Class
26                                    members equitably relative to one another. .............................................. 20
                           5.         The Settlement satisfies the Ninth Circuit’s approval factors................... 21
27
                                      a.     Class Counsel endorse the Settlement. ......................................... 21
28
                                                                                                MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                                         -i-                SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                                                    MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 3 of 45



 1                                                      TABLE OF CONTENTS
                                                            (continued)
 2                                                                                                                                        Page
 3                                    b.The government’s independent check on the fuel economy
                                        revisions and Sport+ recall repair favors final approval. .............. 22
 4                          c.          The Class’ initial response has been positive................................ 22
 5               C.  The Court should appoint Lead Plaintiffs’ Counsel as Settlement Class
                     Counsel under Rule 23(g)(1)................................................................................. 23
 6               D.  Class Counsel’s requested fee is fair, reasonable, and appropriate....................... 23
 7                   1.     Class Counsel obtained substantial cash compensation for the
                            Class. ......................................................................................................... 23
 8                   2.     The Settlement resulted from Class Counsel’s zealous
                            representation in complex and risky litigation. ......................................... 25
 9
                     3.     Class Counsel’s requested fee percentage is reasonable, appropriate,
10                          and strongly supported by precedent......................................................... 26
                     4.     Class Counsel carried considerable financial burden in prosecuting
11                          this complex litigation. .............................................................................. 28
12                   5.     A lodestar cross-check confirms the requested fees are reasonable. ........ 28
                            a.          Class Counsel expended a reasonable number of hours
13                                      advancing this complex litigation. ................................................ 30
14                          b.          Class Counsel billed reasonable rates for those hours. ................. 31
                            c.          Class Counsel’s performance and the results achieved
15                                      justify a reasonable lodestar multiplier. ........................................ 31
16               E.  Class Counsel’s expenses are reasonable and appropriate.................................... 32
                 F.  The Settlement Class Representatives have earned the requested service
17                   awards. .................................................................................................................. 34
18   IV.         CONCLUSION ................................................................................................................. 34

19

20

21

22

23

24

25

26

27

28
                                                                                              MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                                        - ii -            SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                                                  MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 4 of 45



 1                                                  TABLE OF AUTHORITIES
 2                                                                                                                                       Page
 3   Cases

 4   Aichele v. City of Los Angeles,
       No. CV-12-10863-DMG, 2015 WL 5286028 (C.D. Cal. Sept. 9, 2015) ................................... 28
 5   Amchem Prods., Inc. v. Windsor,
 6     521 U.S. 591 (1997) ................................................................................................................... 12
     Astiana v. Kashi Co.,
 7     291 F.R.D. 493 (S.D. Cal. 2013).................................................................................................. 9
 8   Beesley v. Int’l Paper Co.,
       No. 3:06-CV-703-DRH-CJP, 2014 WL 375432 (S.D. Ill. Jan. 31, 2014) ................................. 33
 9
     Bellinghausen v. Tractor Supply Co.,
10     306 F.R.D. 245 (N.D. Cal. 2015) ............................................................................................... 29

11   Boeing Co. v. Van Gemert,
       444 U.S. 472 (1980) ................................................................................................................... 23
12   Buccellato v. AT&T Operations, Inc.,
13     No. C10-00463-LHK, 2011 WL 3348055 (N.D. Cal. June 30, 2011) ....................................... 32
     Cohen v. Trump,
14     303 F.R.D. 376 (S.D. Cal. 2014).................................................................................................. 9
15   Counts v. Gen. Motors, LLC,
       237 F. Supp. 3d 572 (E.D. Mich. 2017) ..................................................................................... 19
16
     Craft v. Cty. of San Bernardino,
17     624 F. Supp. 2d 1113 (C.D. Cal. 2008) ..................................................................................... 28

18   Dyer v. Wells Fargo Bank, N.A.,
       303 F.R.D. 326 (N.D. Cal. 2014) ......................................................................................... 29, 31
19   Elder v. Hilton Worldwide Holdings, Inc.,
20     No. 16-CV-00278-JST, 2021 WL 4785936 (N.D. Cal. Feb. 4, 2021) ....................................... 16
     Evon v. Law Offices of Sidney Mickell,
21     688 F.3d 1015 (9th Cir. 2012).................................................................................................... 11
22   Fischel v. Equitable Life Assurance Soc’y of U.S.,
       307 F.3d 997 (9th Cir. 2002)...................................................................................................... 29
23
     Friedman v. 24 Hour Fitness USA, Inc.,
24     No. CV 06-6282 AHM (CTx), 2009 WL 2711956 (C.D. Cal. Aug. 25, 2009) ......................... 12

25   Gant v. Ford Motor Co.,
       517 F. Supp. 3d 707 (E.D. Mich. 2021) ..................................................................................... 18
26   Guido v. L’Oreal, USA, Inc.,
27     284 F.R.D. 468 (C.D. Cal. 2012) ................................................................................................. 9
     Hanlon v. Chrysler Corp.,
28     150 F.3d 1011 (9th Cir. 1998)............................................................................................. passim
                                                                                             MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                                      - iii -            SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                                                 MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 5 of 45



 1                                                  TABLE OF AUTHORITIES
                                                          (continued)
 2                                                                                                                                       Page
 3   Hefler v. Wells Fargo & Co.,
       No. 16-CV-05479-JST, 2018 WL 6619983 (N.D. Cal. Dec. 18, 2018) .................................... 29
 4
     Hensley v. Eckerhart,
 5     461 U.S. 424 (1983) ................................................................................................................... 24
 6   Hernandez v. Dutton Ranch Corp.,
       No. 19-CV-00817-EMC, 2021 WL 5053476 (N.D. Cal. Sept. 10, 2021) ................................. 27
 7   In re Anthem, Inc. Data Breach Litig.,
 8      327 F.R.D. 299 (N.D. Cal. 2018) ............................................................................................... 16
     In re Bluetooth Headset Prods. Liab. Litig.,
 9      654 F.3d 935 (9th Cir. 2011).................................................................................... 21, 23, 28, 31
10   In re Cathode Ray Tube (CRT) Antitrust Litig.,
        No. 1917, 2016 WL 4126533 (N.D. Cal. Aug. 3, 2016) .............................................................. 2
11
     In re Chrysler-Dodge-Jeep EcoDiesel Mktg., Sales Practices & Prods. Liab. Litig.,
12      295 F. Supp. 3d 927 (N.D. Cal. 2018) ....................................................................................... 18
13   In re Chrysler-Dodge-Jeep Ecodiesel Mktg., Sales Practices, & Prod. Liab. Litig.,
        No. 17-md-02777, 2019 WL 536661 (N.D. Cal. Feb. 11, 2019) ............................................. 5, 9
14   In re First Alliance Mortg. Co.,
15      471 F.3d 977 (9th Cir. 2006)...................................................................................................... 12
     In re Ford Motor Co. F-150 & Ranger Truck Fuel Econ. Mktg. & Sales Pracs. Litig.,
16      No. 2:19-MD-02901, 2022 WL 551221 (E.D. Mich. Feb. 23, 2022) .................................... 6, 18
17   In re Heritage Bond Litig.,
        No. 02-ML-1475 DT, 2005 WL 1594403 (C.D. Cal. June 10, 2005) ....................................... 27
18
     In re Hyundai & Kia Fuel Econ. Litig.,
19      926 F.3d 539 (9th Cir. 2019).................................................................................................. 9, 12
20   In re Hyundai & Kia Fuel Econ. Litig.,
        No. MDL 13-2424-GW(FFMx), 2014 WL 12603199 (C.D. Cal. Aug. 21, 2014) .................... 21
21   In re Lithium Ion Batteries Antitrust Litig.,
22      No . 13-md-2420-YGR, 2019 WL 3856413 (N.D. Cal Aug. 16, 2019) .................................... 28
     In re Mego Fin. Corp. Sec. Litig.,
23      213 F.3d 454 (9th Cir. 2000).......................................................................................... 19, 27, 34
24   In re Nat'l Collegiate Athletic Ass'n Athletic Grant-in-Aid Cap Antitrust Litig.,
        No. 4:14-MD-2541-CW, 2017 WL 6040065 (N.D. Cal. Dec. 6, 2017) ................................ 2, 27
25
     In re Nexus 6P Prod. Liab. Litig.,
26      No. 17-CV-02185-BLF, 2019 WL 6622842 (N.D. Cal. Nov. 12, 2019) ............................. 24, 25
27   In re Omnivision Techs., Inc.,
        559 F. Supp. 2d 1036 (N.D. Cal. 2008) ..................................................................................... 24
28
                                                                                             MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                                      - iv -             SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                                                 MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 6 of 45



 1                                                TABLE OF AUTHORITIES
                                                        (continued)
 2                                                                                                                                   Page
 3   In re Online DVD-Rental Antitrust Litig.,
        779 F.3d 934 (9th Cir. 2015)...................................................................................................... 34
 4
     In re Oracle Sec. Litig.,
 5      852 F. Supp. 1437 (N.D. Cal. 1994) .......................................................................................... 26
 6   In re TFT–LCD (Flat Panel) Antitrust Litigation,
        No. MDL 3:07–md–1827 SI, 2011 WL 7575003 (N.D. Cal. Dec. 27, 2011) ........................... 27
 7   In re Toyota Rav4 Hybrid Fuel Tank Litig.,
 8      534 F. Supp. 3d 1067 (N.D. Cal. 2021) ..................................................................................... 18
     In re Volkswagen "Clean Diesel" Mktg., Sales Pracs., & Prod. Liab. Litig.,
 9      No. MDL 2672 CRB (JSC), 2019 WL 2077847 (N.D. Cal. May 10, 2019) ................. 17, 21, 31
10   In re Volkswagen "Clean Diesel" Mktg., Sales Practices, & Prod. Liab. Litig.,
        No. 2672 CRB (JSC), 2017 WL 672820 (N.D. Cal. Feb. 16, 2017) ......................................... 10
11
     In re Volkswagen "Clean Diesel" Mktg., Sales Practices, & Prod. Liab. Litig.,
12      No. MDL 2672 CRB (JSC), 2016 WL 6248426 (N.D. Cal. Oct. 25, 2016) .............. 5, 16, 19, 21
13   In re Volkswagen "Clean Diesel" Mktg., Sales Practices, & Prod. Liab. Litig.,
        No. MDL 2672 CRB (JSC), 2017 WL 2212780 (N.D. Cal. May 17, 2017) ............................. 11
14   In re Volkswagen "Clean Diesel" Mktg., Sales Practices, & Prods. Liab. Litig.,
15      No. 2672 CRB (JSC), 2016 WL 4010049 (N.D. Cal. July 26, 2016) ................................. passim
     In re Volkswagen "Clean Diesel" Mktg., Sales Practices, & Prods. Liab. Litig.,
16      No. 2672 CRB (JSC), 2017 WL 1047834 (N.D. Cal. Mar. 17, 2017) ................................ passim
17   In re Volkswagen "Clean Diesel" Mktg., Sales Practices, & Prods. Liab. Litig.,
        No. 2672 CRB (JSC), 2017 WL 2178787 (N.D. Cal. May 17, 2017) ....................................... 32
18
     In re Volkswagen "Clean Diesel" Mktg., Sales Practices, & Prods. Liab. Litig.,
19      No. 2672 CRB (JSC), 2017 WL 3175924 (N.D. Cal. July 21, 2017) ........................................ 32
20   In re Volkswagen “Clean Diesel” Mktg., Sales Pracs., & Prod. Liab. Litig.,
        895 F.3d 597 (9th Cir. 2018).......................................................................................... 14, 16, 25
21   In re Wash. Pub. Power Supply Sys. Sec. Litig.,
22      19 F.3d 1291 (9th Cir. 1994)...................................................................................................... 28
     Jimenez v. Allstate Ins. Co.,
23     765 F.3d 1161 (9th Cir. 2014)...................................................................................................... 9
24   Kerr v. Screen Extras Guild, Inc.,
       526 F.2d 67 (9th Cir. 1975)........................................................................................................ 31
25
     Kim v. Space Pencil, Inc.,
26     No. C 11-03796 LB, 2012 WL 5948951 (N.D. Cal. Nov. 28, 2012)......................................... 19
27   Marshall v. Holiday Magic, Inc.,
      550 F.2d 1173 (9th Cir. 1977).................................................................................................... 16
28
                                                                                          MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                                    -v-               SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                                              MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 7 of 45



 1                                                 TABLE OF AUTHORITIES
                                                         (continued)
 2                                                                                                                                      Page
 3   Nat’l Rural Telecomms. Coop. v. DIRECTV, Inc.,
       221 F.R.D. 523 (C.D. Cal. 2004) ............................................................................................... 21
 4
     Nobles v. MBNA Corp.,
 5     No. C 06-3723 CRB, 2009 WL 1854965 (N.D. Cal. June 29, 2009) ........................................ 19
 6   Officers for Justice v. Civil Serv. Comm’n,
       688 F.2d 615 (9th Cir. 1982)...................................................................................................... 14
 7   Ontiveros v. Zamora,
 8     303 F.R.D. 356 (E.D. Cal. 2014). .................................................................................. 15, 16, 21
     Palmer v. Stassinos,
 9     233 F.R.D. 546 (N.D. Cal. 2006) ................................................................................................. 8
10   Parsons v. Ryan,
       754 F.3d 657 (9th Cir. 2014)...................................................................................................... 10
11
     Rieckborn v. Velti PLC,
12     No. 13-3889, 2015 WL 468329 (N.D. Cal. Feb. 3, 2015) ......................................................... 29
13   Ries v. Ariz. Beverages USA LLC,
       287 F.R.D. 523 (N.D. Cal. 2012) ................................................................................................. 9
14   Rodriguez v. Hayes,
15     591 F.3d 1105 (9th Cir. 2010).................................................................................................... 10
     Six (6) Mexican Workers v. Ariz. Citrus Growers,
16      904 F.2d 1301 (9th Cir. 1990).................................................................................................... 23
17   Slaven v. BP Am., Inc.,
       190 F.R.D. 649 (C.D. Cal. 2000) ................................................................................................. 8
18
     Smith v. Cardinal Logistics Mgmt. Corp.,
19     No. 07-2104 SC, 2008 WL 4156364 (N.D. Cal. Sept. 5, 2008) ................................................ 13
20   Staton v. Boeing Co.,
       327 F.3d 938 (9th Cir. 2003)................................................................................................ 23, 32
21   Stetson v. Grissom,
22      821 F.3d 1157 (9th Cir. 2016).................................................................................................... 31
     Stockwell v. City & Cty. of San Francisco,
23     749 F.3d 1107 (9th Cir. 2014)...................................................................................................... 9
24   Sykes v. Mel Harris & Assocs. LLC,
       285 F.R.D. 279 (S.D.N.Y. 2012), aff’d 780 F.3d 70 (2d Cir. 2015) .......................................... 10
25
     Trosper v. Styker Corp.,
26     No. 13-CV-0607-LHK, 2014 WL 4145448 (N.D. Cal. Aug. 21, 2014) .................................... 13
27   Tyson Foods, Inc. v. Bouaphakeo,
       136 S. Ct. 1036 (2016) ............................................................................................................... 11
28
                                                                                            MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                                     - vi -             SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                                                MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 8 of 45



 1                                                   TABLE OF AUTHORITIES
                                                           (continued)
 2                                                                                                                                         Page
 3   Vizcaino v. Microsoft Corp.,
       290 F.3d 1043 (9th Cir. 2002).................................................................................. 23, 27, 28, 29
 4
     Wakefield v. Wells Fargo & Co.,
 5    No. 3:13-cv-05053 LB, 2015 WL 3430240 (N.D. Cal. May 28, 2015)..................................... 32
 6   Wal-Mart Stores, Inc. v. Dukes,
      564 U.S. 338 (2011) ............................................................................................................... 9, 10
 7   Willner v. Manpower Inc.,
 8     No. 11-cv-02846-JST, 2015 WL 3863625 (N.D. Cal. June 22, 2015) ...................................... 32
     Wolin v. Jaguar Land Rover N. Am., LLC,
 9    617 F.3d 1168 (9th Cir. 2010).............................................................................................. 12, 13
10   Rules

11   Fed. R. Civ. P. 23(a)(1) .................................................................................................................... 8
     Fed. R. Civ. P. 23(a)(3) .................................................................................................................. 10
12
     Fed. R. Civ. P. 23(e)....................................................................................................................... 23
13
     Fed. R. Civ. P. 23(e)(2)(A) ............................................................................................................ 15
14   Fed. R. Civ. P. 23(e)(2)(B)............................................................................................................. 15
15   Fed. R. Civ. P. 23(e)(2)(C)................................................................................................. 17, 18, 21
     Fed. R. Civ. P. 23(e)(2)(C)(i) ......................................................................................................... 19
16
     Fed. R. Civ. P. 23(e)(2)(C)(ii) ........................................................................................................ 20
17
     Fed. R. Civ. P. 23(e)(2)(C)(iii)....................................................................................................... 20
18   Fed. R. Civ. P. 23(e)(2)(D) ............................................................................................................ 21
19   Fed. R. Civ. P. 23(h) ...................................................................................................................... 32
20   Treatises
     4 Newberg § 13:49 (5th ed. 2012) ................................................................................................. 16
21
     Federal Judicial Center, Manual for Complex Litigation § 21.71 (4th ed.) ................................... 24
22   Other Authorities
23   Fed. R. Civ. P. 23(h) committee note............................................................................................. 24
24   Theodore Eisenberg & Geoffrey P. Miller, Attorney Fees and Expenses in Class Action
       Settlements: 1993–2008, 7 J. Empirical Legal Stud. 248 (2010) ............................................... 32
25   Theodore Eisenberg, Geoffrey Miller, & Roy Germano,
26     Attorneys’ Fees in Class Actions 2009-2013, 92 N.Y.U. L. Rev. 937 (2017) ..................... 31, 32

27

28
                                                                                               MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                                       - vii -             SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                                                   MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 9 of 45



 1                                 NOTICE OF MOTION AND MOTION
 2               TO ALL THE PARTIES AND COUNSEL OF RECORD:
 3               PLEASE TAKE NOTICE that on October 21, 2022 at 9:00 a.m. or at such other date and
 4   time as the Court may set, in Courtroom 6 of the United States District Court for the Northern
 5   District of California, located at 450 Golden Gate Avenue, San Francisco, California, Lead
 6   Counsel, on behalf of a proposed Settlement Class of current and former owners and lessees of
 7   certain Porsche gasoline vehicles, will and hereby do move the Court for an order and judgment
 8   granting final approval of the Class Action Settlement and the motion for attorneys’ fees and
 9   costs, and appointing Settlement Class Counsel and Class Representatives under Fed. R. Civ. P.
10   23(g)(1).
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                                                                    MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                   - viii -     SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                        MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 10 of 45



 1                            MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.          INTRODUCTION
 3               The Settlement before the Court resolves claims for consumers who purchased or leased
 4   certain model year 2005-2020 gasoline-powered Porsche vehicles (the “Class Vehicles”). As
 5   detailed in the operative Complaint, Plaintiffs allege that two historical practices improperly
 6   skewed the emissions and fuel economy test results for the Class Vehicles. The Settlement
 7   provides a guaranteed, non-reversionary fund of at least $80 million (and up to $85 million) to
 8   compensate Class members who purchased and leased these Class Vehicles.
 9               As part of the extensive investigation efforts in this case, the Parties conducted and
10   reviewed results from rigorous and comprehensive testing that they believe to have covered all
11   vehicles potentially affected by the alleged practices. See Settlement Agreement (“SA”), Dkt.
12   7971-1 at 1. Testing results for a subset of the Class Vehicles—the “Fuel Economy Class
13   Vehicles”—revealed that the real-world fuel economy may have been one or two miles per gallon
14   lower than the MPG promised to Class members on the Monroney labels and in other marketing.
15   As a result, Class members who purchased or leased a Fuel Economy Class Vehicle may have
16   paid for more gasoline over time—and may have had to visit the gas station more frequently—
17   than if the vehicles had performed as promised. Class members with Fuel Economy Class
18   Vehicles will be eligible to receive Fuel Economy Cash Benefits, ranging from $250 to $1,109.66
19   per Class Vehicle. While market prices for gasoline fluctuate and future gas prices are
20   unpredictable, the Fuel Economy compensation will pay all Fuel Economy Class members a very
21   high percentage of their potential recoverable damages (and the vast majority of them 100% of
22   damages). See Section II.A.
23               Class members with Class Vehicles that were also conceivably impacted by the testing
24   practices at issue (the “Other Class Vehicles”), but for which no potential deviations were
25   identified through the comprehensive vehicle testing program, will be eligible to receive cash
26   payments of up to $200 per vehicle. Finally, in addition to the Fuel Economy and Other Class
27   Vehicle compensation, Class members whose vehicles are equipped with a high-performance
28   Sport+ Mode that are the subject of an ongoing emissions recall (the “Sport+ Class Vehicles”)
                                                                          MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                        -1-           SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                              MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 11 of 45



 1   will also be eligible for a free software upgrade and a cash payment of $250 (“Sport+ Cash
 2   Benefits”), which will be paid automatically, without the need for a claim form. As with the Fuel
 3   Economy Cash Benefits, the Sport+ and Other Class Vehicle payments provide substantial
 4   compensation to Class members tied to the potential impact of the practices at issue on their Class
 5   Vehicles.
 6               The proposed Settlement is an outstanding result for the Class, and provides significant
 7   monetary value to the Class for the impact the alleged improper testing practices may have had on
 8   their Class Vehicles. For their work in securing this result, Class Counsel seek $24,000,000 in
 9   fees and $710,733.89 in costs. The requested fees are 30% of the guaranteed $80,000,000 non-
10   reversionary settlement fund, and 28.2% of the settlement’s total potential monetary value. This
11   modest upward departure from the 25% benchmark is warranted in light of the exceptional results
12   obtained for the Class, including a substantial payment available to all Class members to redress
13   the relevant harms (arguably 100% of damages for most Class members). In re Cathode Ray Tube
14   (CRT) Antitrust Litig., No. 1917, 2016 WL 4126533, at *5 (N.D. Cal. Aug. 3, 2016), dismissed
15   sub nom. In re Cathode Ray Tube (CRT) Antitrust Litig., No. 16-16368, 2017 WL 3468376 (9th
16   Cir. Mar. 2, 2017) (awarding 30% of $576,750,000 fund); In re Nat'l Collegiate Athletic Ass'n
17   Athletic Grant-in-Aid Cap Antitrust Litig., No. 4:14-MD-2541-CW, 2017 WL 6040065, at *2
18   (N.D. Cal. Dec. 6, 2017), aff'd, 768 F. App’x 651 (9th Cir. 2019) (observing that “many cases in
19   this circuit . . . have granted fee awards of 30% or more,” and, “in most common fund cases, the
20   award exceeds the [25%] benchmark”). The reasonableness of the requested fees is further
21   confirmed by a lodestar cross-check that yields a routine multiplier of just 1.86.
22               Plaintiffs thus respectfully request that the Court certify the Settlement Class, grant final
23   approval to the Settlement, and approve an aggregate award of $24,710,733.89 in attorneys’ fees
24   and costs to be allocated by Lead Counsel among participating PSC firms for their common
25   benefit work devoted to obtaining this excellent result.
26   II.         BACKGROUND AND PROCEDURAL HISTORY
27               The Court is very familiar with the history of this litigation, much of which is detailed in
28   Plaintiffs’ preliminary approval briefing (Dkt. 7971). In the interest of efficiency, Plaintiffs will
                                                                           MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                         -2-           SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                               MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 12 of 45



 1   not reiterate that history here and incorporate it by reference. A few points, however, bear
 2   emphasis.
 3               A.     The Settlement provides Class members with substantial cash compensation.
 4               This case centers on allegations that Defendants altered fuel economy and emissions test
 5   results in certain gasoline-powered Porsche vehicles manufactured for model years 2005 through
 6   2020. Specifically, Plaintiffs allege two improper strategies that could have impacted the
 7   emissions and fuel economy test results for the Class Vehicles: referred to in the Amended
 8   Complaint as the “Axle Ratio Fraud” and the “Sport+ Fraud.” Dkt. 7969 at ¶¶ 68-90. As to the
 9   Axle Ratio Fraud, (referred to in the Settlement as the “Fuel Economy Matter”), Plaintiffs allege
10   that Porsche used doctored vehicles for emissions and fuel economy testing, such that the
11   hardware and software in the tested vehicles differed in material ways from the hardware and
12   software in vehicles that were sold to the public. As a result, the tested vehicles obtained better
13   fuel economy and emitted less CO2 in the laboratory than the vehicles that were actually sold and
14   leased to consumers. With respect to the Sport+ Fraud, Plaintiffs allege that some Class Vehicles
15   exceeded emissions limits when driven in a user-selected, high-performance “Sport+” driving
16   mode.
17               The proposed Settlement provides substantial cash payments to all Class members whose
18   vehicles were or could have been impacted by one or both of these tactics. The amount of
19   compensation available to each Class member is based on the model and model year Class
20   Vehicle they purchased or leased, and the degree to which there is a measured impact on their
21   Class Vehicle from the relevant conduct. Class members with a Fuel Economy Class Vehicle—
22   for which testing and other discovery revealed a deviation in fuel economy—will receive cash
23   compensation for (1) the difference in cost for the amount of gasoline that would have been
24   required under the original Monroney fuel economy label and the greater amount required under
25   the adjusted fuel economy label, and (2) a goodwill payment of an additional 15% of those
26   damages to compensate for any inconvenience. Dkt. 7971-1 ¶ 4.1. Payments range from $250 to
27   $1,109.66 for Class members who owned the vehicle for 96 months after it was first sold or
28   leased. Id., Ex. 1. Compensation for Class members who sold, purchased used, or leased their
                                                                        MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                       -3-          SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                            MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 13 of 45



 1   Fuel Economy Class Vehicles follows the same concept, but will be prorated to the number of
 2   months of possession during the 96 month period.
 3               Class members with “Other Class Vehicles”—for which emissions or fuel economy
 4   deviations were not identified through the Parties’ extensive investigation and testing efforts, but
 5   nonetheless could conceivably have experienced a discrepancy given the time periods and places
 6   in which they were developed—will be offered meaningful cash payments of up to $200 per
 7   vehicle. If an extraordinary claims rate causes the payments allocated to the Other Class Vehicles
 8   to fall below $150 per vehicle, Defendants have agreed to pay an additional $5 million into the
 9   Settlement Fund, bringing the total to $85 million.
10               Finally, and in addition to the Fuel Economy and Other Class Vehicle compensation
11   described above, Class members with a Sport+ Class Vehicle will be eligible to receive an
12   Emissions Complaint Repair (“ECR”), a software reflash that upgrades the Sport+ program to
13   Porsche’s most up-to-date version and brings the vehicles into compliance with the relevant
14   regulatory limits. The ECR does not compromise Sport+ performance, but Class members who
15   receive it will automatically receive a $250 cash payment upon completion, without having to
16   submit any further claim.1 This significant payment will incentivize Class members to bring their
17   Class Vehicle to a dealership for a software update and compensate them for their time and
18   inconvenience in doing so.2
19               The $80 million available to the Class is non-reversionary. If there are any funds
20   remaining after all valid, complete, and timely Claims are paid, the Settlement contemplates a
21   redistribution of the remaining funds to Class members unless and until it is economically
22   infeasible to do so. SA ¶ 4.4. Finally, any final balance (an amount which will be relatively
23   modest given the Class member redistribution) will be directed cy pres to environmental
24   remediation efforts subject to Court approval. Id. This ensures that all of the money secured by
25
     1
26     Sport+ Class members who complete or have already completed the ECR will have their
     information sent to the settlement administrator for automatic payment after final approval,
27   thereby eliminating the need to submit a claim for the $250 payment.
     2
       The ECRs for the vast majority of Sport+ Class vehicles has already been approved, and
28   Defendants are in the process of obtaining regulatory approval for the remainder.
                                                                         MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                        -4-          SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                             MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 14 of 45



 1   the Settlement will inure to the benefit of the Class and the interests advanced in this litigation.
 2               B.     The Case was complex, risky, and thoroughly investigated.
 3               This $80 million settlement for the Class was not easily obtained. Indeed, the Porsche
 4   Gasoline cases presented a unique set of facts and complex issues from the beginning. The
 5   litigation traces back two years, when a prominent German news site Der Spiegel in August 2020
 6   first broke news of possible emissions and fuel economy irregularities in Porsche gasoline
 7   vehicles. Class Counsel then dedicated two years to the extensive investigation, litigation, and
 8   discovery of the complex emissions and fuel economy test practices at issue.
 9               Those two years brought significant challenges and required a lot of work. After the initial
10   consolidation into this MDL, the Court tasked Plaintiffs’ Lead Counsel (previously appointed in
11   the diesel emissions cases) with filing a consolidated complaint for the Porsche Gasoline cases.
12   See Dkt. 7756. This was no small feat. Unlike other recent vehicle emissions settlements,
13   including within this MDL, no parallel action was filed by the government to bolster Plaintiffs’
14   claims and assist in the investigation. As such, Plaintiffs had no formal Notice of Violation on
15   which to ground their allegations and steer the focus of their investigation.3 Without a roadmap
16   from a formal government citation, Plaintiffs pushed forward to thoroughly investigate and
17   aggressively pursue their claims, as evidenced by the detailed factual allegations and legal claims
18   in the 417-page Consolidated Consumer Class Action Complaint. See Dkt. 7803.
19               In response to those allegations, Defendants filed a comprehensive motion to dismiss
20   addressing numerous and complex issues, including, for example: Plaintiffs’ standing to bring
21   claims under Article III; preemption of Plaintiffs’ claims by the federal Energy Policy and
22
     3
       In this case, as detailed below (§ III.B.5), government agencies did later review and approve the
23   fuel economy rating adjustments underpinning the proposed Settlement, as well as the ECR for
     Sport+ vehicles, but this confirmatory role did not serve to bolster Plaintiffs’ allegations and
24   investigation in the litigation track. For example, in the Fiat Chrysler EcoDiesel settlement, the
     government’s issuance of a Notice of Violation, followed by their parallel investigation and
25   prosecution of the emissions scheme at issue, resulted in a Consent Decree and additional fines
     that worked “in tandem” with the consumer litigation. In re Chrysler-Dodge-Jeep Ecodiesel
26   Mktg., Sales Practices, & Prod. Liab. Litig., No. 17-md-02777, 2019 WL 536661, at *3 (N.D.
     Cal. Feb. 11, 2019); see also In re Volkswagen "Clean Diesel" Mktg., Sales Practices, & Prod.
27   Liab. Litig., No. MDL 2672 CRB (JSC), 2016 WL 6248426, at *14 (N.D. Cal. Oct. 25, 2016)
     (consumer claims followed issuance of a Notice of Violation, and were supported by settlement
28   negotiations conducted “alongside” the regulators).
                                                                         MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                        -5-          SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                             MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 15 of 45



 1   Conservation Act of 1975 (“EPCA”), Federal Trade Commission (“FTC”) regulations, and the
 2   Clean Air Act; and whether Plaintiffs’ claims—which cover conduct reaching back nearly two
 3   decades—were barred by statutes of limitation. Dkt. 7862. Class Counsel then researched,
 4   drafted, and filed a 60-page opposition brief, and Defendants lodged a reply in support. Dkts.
 5   7884, 7901. Those briefs, as well as subsequent developments in the law, reveal the strengths of
 6   Plaintiffs’ claims, but also the very real risks Plaintiffs faced in advancing them. Indeed, as
 7   discussed further below, another court recently found—incorrectly, in Plaintiffs’ view—that
 8   claims of falsified fuel economy ratings like this one are preempted by the EPCA. See In re Ford
 9   Motor Co. F-150 & Ranger Truck Fuel Econ. Mktg. & Sales Pracs. Litig., No. 2:19-MD-02901,
10   2022 WL 551221, at *12 (E.D. Mich. Feb. 23, 2022).
11               In this context, and after detailed briefing, the parties agreed to commence settlement
12   negotiations in earnest. Throughout these negotiations, Plaintiffs continued to press forward in
13   parallel with significant factual investigation and discovery efforts. For example, Class Counsel
14   retained technical experts to conduct testing on the Class Vehicles in on-road and laboratory
15   settings, yielding comprehensive data and analysis to inform their understanding of the testing
16   practices at issue. Declaration of David S. Stellings (“Stellings Decl.”) ¶¶ 3. Defendants likewise
17   conducted an extensive testing and review process in response to regulatory inquiries and
18   Plaintiffs’ claims. The Parties intended and believe that this detailed and extensive testing regime
19   covered all affected vehicles. SA at pp. 1-2. Plaintiffs’ counsel and their experts traveled to
20   Porsche’s facilities in Weissach, Germany, to monitor the Defendants’ testing and to meet with
21   several of the key engineers and personnel involved in the design and regulatory testing for the
22   Class Vehicles. Stellings Decl. ¶¶ 8-10. Plaintiffs continued that discussion in March 2022 at
23   Porsche’s headquarters in Stuttgart, Germany, where they further evaluated Porsche’s ongoing
24   testing, reviewed updated test results, and held further meetings with Porsche’s engineers and
25   attorneys. Id.
26               The Parties also engaged in extensive document and information exchanges in this case
27   apart from the comprehensive vehicle testing program. On this front, Plaintiffs took due
28   advantage of their ability to access Defendants’ documents in the MDL database. Specifically,
                                                                         MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                        -6-          SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                             MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 16 of 45



 1   Plaintiffs developed, tested, and refined English and German-language search terms to isolate
 2   materials relevant to the Porsche vehicles and issues in this litigation. Through this rigorous
 3   process, Plaintiffs reviewed and analyzed millions of pages of relevant documents produced in
 4   this MDL. Plaintiffs also reviewed and analyzed additional documents through discovery in the
 5   Porsche Gasoline cases, including over 500,000 technical, German-language documents made
 6   available to Plaintiffs in Germany, and thousands of pages of additional documents.
 7               Based on all of this investigation—and thus armed with a more comprehensive
 8   understanding of the technologies at issue—Plaintiffs recently filed a 425-page Amended
 9   Complaint that refined their theories of liability and presented detailed claims under federal law
10   and the laws of all 50 states. Dkt. 7969. At the same time, the significant amounts of data,
11   documents, and information exchanged facilitated an arm’s-length, technical, and evidence-based
12   settlement negotiation process, ultimately resulting in the proposed resolution now before the
13   Court.
14               C.     The Notice Program is proving a success, and Class members are already
                        engaged and participating in the streamlined claims process in significant
15                      numbers.
16               Following preliminary approval, the Parties worked with respected class notice provider
17   and settlement administrator JND to roll out the Court-approved Notice Program with great
18   success. JND reports that the Notice Program is on track to reach “virtually all” Class members.
19   Declaration of Jennifer Keough (“Keough Decl.”) ¶ 6. To date, JND has sent 1,096,929
20   individual notices by email, and 555,294 by mail, to individual Class members. Id. ¶¶ 9-10.
21   Banner notices have yielded 41,990,491 impressions, and sponsored search listings have been
22   displayed 2,699 times. Id. ¶¶ 15-16. While the Notice program remains underway, and several
23   months remain in the claims period, Class members are already visiting the Settlement Website at
24   an impressive rate, with 684,208 page hits from 146,074 unique visitors so far. Id. ¶ 20.4 As of
25
     4
       In the preliminary approval motion, Plaintiffs estimated that the cost of notice and
26   administration could reach approximately $2.5 million, depending on the “final tally of owners,
     lessees, and claims associated with the approximately 500,000 Class Vehicles.” Dkt. 7971 at 10.
27   Based on the strong initial response and the availability of more physical addresses than initially
     expected, Plaintiffs anticipate that the final cost may exceed that projection, proportionate to the
28   needs of effectuating the best notice practicable to the Class in this case.
                                                                       MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                       -7-         SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                           MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 17 of 45



 1   August 26, moreover, JND had received 38,252 Settlement Claims, the vast majority of which
 2   were submitted through the streamlined submission portal available on the Settlement Website.
 3   Id. ¶ 25. In addition, at least 12,319 Class members had already obtained the ECR for their Sport+
 4   Class Vehicles as of August 19, 2022. All of them will receive their Sport+ payments
 5   automatically after final approval. Stellings Decl. ¶ 16. Together, these are “encouraging” signs
 6   of the Class’ engagement that—coupled with targeted claim stimulation efforts—will yield
 7   substantial participation from the Class. Keough Decl. ¶ 12. Regardless, to maximize the success
 8   of the settlement program, the Parties intend to send claim-stimulation reminder notices and may
 9   seek to extend the claim deadline, if appropriate.
10   III.        ARGUMENT
11               A.     The Settlement Class satisfies all requirements of Rule 23 and should be
                        certified.
12

13               As the Court concluded in granting preliminary approval and directing notice to the Class,
14   “the Class and its representatives likely meet all relevant requirements of Rule 23(a) and Rule
15   23(b)(3).” Dkt. 7997 at 4. This remains true, and the Settlement Class should be certified.
16                      1.      Rule 23(a)(1): The Class is sufficiently numerous.
17               Rule 23(a)(1) is satisfied where, as here, “the class is so numerous that joinder of all class
18   members is impracticable.” Fed. R. Civ. P. 23(a)(1). Numerosity is generally met when the class
19   exceeds forty members. See, e.g., Slaven v. BP Am., Inc., 190 F.R.D. 649, 654 (C.D. Cal. 2000). It
20   is undisputed that several hundred thousand Class Vehicles were sold and/or leased nationwide
21   and that the Settlement Class—which includes current and former owners and lessees of those
22   Vehicles—includes at least as many Class members. The size of the Settlement Class and its
23   geographic dispersal across the United States render joinder impracticable. See Palmer v.
24   Stassinos, 233 F.R.D. 546, 549 (N.D. Cal. 2006) (“Joinder of 1,000 or more co-plaintiffs is
25   clearly impractical.”). Numerosity is satisfied.
26

27

28
                                                                           MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                         -8-           SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                               MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 18 of 45



 1                      2.     Rule 23(a)(2): The Class Claims present common questions of law and
                               fact.
 2

 3               “Federal Rule of Civil Procedure 23(a)(2) conditions class certification on demonstrating

 4   that members of the proposed class share common ‘questions of law or fact.’” Stockwell v. City &

 5   Cty. of San Francisco, 749 F.3d 1107, 1111 (9th Cir. 2014). Commonality “does not turn on the

 6   number of common questions, but on their relevance to the factual and legal issues at the core of

 7   the purported class’ claims.” Jimenez v. Allstate Ins. Co., 765 F.3d 1161, 1165 (9th Cir. 2014).

 8   “‘Even a single question of law or fact common to the members of the class will satisfy the

 9   commonality requirement.’” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 369 (2011).5

10               Courts routinely find commonality where, as here, the class claims arise from a

11   defendant’s uniform course of fraudulent conduct. See, e.g., In re Chrysler-Dodge-Jeep Ecodiesel

12   Mktg., Sales Practices, & Prods. Liab. Litig., No. 17-MD-02777-EMC, 2019 WL 536661, at *6

13   (N.D. Cal. Feb. 11, 2019) (commonality satisfied where claims arose from the defendants’

14   “common course of conduct” in perpetrating alleged vehicle emissions cheating scheme);

15   Cohen v. Trump, 303 F.R.D. 376, 382 (S.D. Cal. 2014) (finding “common questions as to

16   ‘Trump’s scheme and common course of conduct, which ensnared Plaintiff[] and the other Class

17   members alike.”).6

18               Here, the Settlement Class claims are rooted in common questions of fact relating to

19   alleged irregularities in the emissions and fuel economy test results for the Class Vehicles, and

20   related misrepresentations to regulators and consumers. See, e.g., Am. Compl. ¶ 1; see also In re

21   Hyundai & Kia Fuel Econ. Litig., 926 F.3d 539, 557 (9th Cir. 2019) (similar common questions

22   about misrepresented fuel economy ratings satisfied commonality requirement). These common

23   5
       Here, and throughout, internal citations are omitted unless otherwise indicated.
     6
24     Likewise, commonality is satisfied in cases where defendants deployed uniform
     misrepresentations to deceive the public (such as the Monroney labels and other advertisements
25   for the Class Vehicles here). See Ries v. Ariz. Beverages USA LLC, 287 F.R.D. 523, 537 (N.D.
     Cal. 2012) (“Courts routinely find commonality in false advertising cases . . . .”); Astiana v. Kashi
26   Co., 291 F.R.D. 493, 501-02 (S.D. Cal. 2013) (same); see also Guido v. L’Oreal, USA, Inc., 284
     F.R.D. 468, 478 (C.D. Cal. 2012) (whether misrepresentations “are unlawful, deceptive, unfair, or
27   misleading to reasonable consumers are the type of questions tailored to be answered in ‘the
     capacity of a classwide proceeding to generate common answers apt to drive the resolution of the
28   litigation’”) (quoting Dukes, 564 U.S. at 350).
                                                                        MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                       -9-          SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                            MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 19 of 45



 1   questions will, in turn, generate common answers “apt to drive the resolution of the litigation” for
 2   the Settlement Class as a whole. See Dukes, 564 U.S. at 350. As the Settlement Class’s “injuries
 3   derive from [D]efendants’ alleged ‘unitary course of conduct,’” Plaintiffs have “‘identified a
 4   unifying thread that warrants class treatment.’” Sykes v. Mel Harris & Assocs. LLC, 285 F.R.D.
 5   279, 290 (S.D.N.Y. 2012), aff’d 780 F.3d 70 (2d Cir. 2015). As in the Volkswagen diesel
 6   litigation and the Audi CO2 cases, “[w]ithout class certification, individual Class members would
 7   be forced to separately litigate the same issues of law and fact which arise from Volkswagen’s
 8   use of the [emissions cheat] and Volkswagen’s alleged common course of conduct.” In re
 9   Volkswagen "Clean Diesel" Mktg., Sales Practices, & Prods. Liab. Litig., No. 2672 CRB (JSC),
10   2016 WL 4010049, at *10 (N.D. Cal. July 26, 2016) (“VW 2L Preliminary Approval Order”).
11                      3.      Rule 23(a)(3): The Settlement Class Representatives’ claims are typical
                                of other Class members’ claims.
12

13               Under Rule 23(a)(3), “‘the claims or defenses of the representative parties’” must be
14   “‘typical of the claims or defenses of the class.’” Parsons v. Ryan, 754 F.3d 657, 685 (9th Cir.
15   2014) (quoting Fed. R. Civ. P. 23(a)(3)). “Like the commonality requirement, the typicality
16   requirement is ‘permissive’ and requires only that the representative’s claims are ‘reasonably co-
17   extensive with those of absent class members; they need not be substantially identical.’”
18   Rodriguez v. Hayes, 591 F.3d 1105, 1124 (9th Cir. 2010) (quoting Hanlon v. Chrysler Corp., 150
19   F.3d 1011, 1020 (9th Cir. 1998)). Here, the same course of conduct injured the Settlement Class
20   Representatives and the other members of the proposed Settlement Class in the same ways. The
21   Settlement Class Representatives, like other Settlement Class members, purchased or leased Class
22   Vehicles that did not or may not obtain the fuel economy and emissions performance they
23   reasonably expected. As a result, they may have paid for more gas and visited the gas pump more
24   frequently, and/or will take their vehicles in for a software upgrade to bring them into compliance
25   with emissions regulations. The typicality requirements are satisfied. See In re Volkswagen
26   "Clean Diesel" Mktg., Sales Practices, & Prod. Liab. Litig., No. 2672 CRB (JSC), 2017 WL
27   672820, at *7 (N.D. Cal. Feb. 16, 2017); see also In re Volkswagen "Clean Diesel" Mktg., Sales
28   Practices, & Prod. Liab. Litig., No. MDL 2672 CRB (JSC), 2017 WL 2212780, at *5 (N.D. Cal.
                                                                        MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                       - 10 -       SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                            MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 20 of 45



 1   May 17, 2017).
 2                      4.      Rule 23(a)(4): The Settlement Class Representatives and Class Counsel
                                have and will protect the interests of the Class.
 3
                 Rule 23(a)(4)’s adequacy requirement is met where “(1) . . . the named plaintiffs and their
 4
     counsel have [no] conflicts of interest with other class members and (2) . . . the named plaintiffs
 5
     and their counsel [have] prosecute[d] the action vigorously on behalf of the class[.]’” Evon v. Law
 6
     Offices of Sidney Mickell, 688 F.3d 1015, 1031 (9th Cir. 2012) (quoting Hanlon, 150 F.3d at
 7
     1020). Both prongs are readily satisfied here.
 8
                 The Settlement Class Representatives “are entirely aligned [with the Settlement Class] in
 9
     their interest in proving that [Defendants] misled them and share the common goal of obtaining
10
     redress for their injuries.” VW 2L Preliminary Approval Order, 2016 WL 4010049, at *11. The
11
     Representatives understand their duties, have agreed to consider the interests of absent Settlement
12
     Class members, and have reviewed and uniformly endorsed the Settlement terms. See Stellings
13
     Decl. ¶ 20. The proposed Settlement Class Representatives are more than adequate.
14
                 Furthermore, Lead Counsel and several of the PSC firms have undertaken an enormous
15
     amount of work, effort, and expense in this MDL and specifically in litigating the Porsche
16
     Gasoline cases. They have demonstrated their willingness to devote whatever resources were
17
     necessary to reach a successful outcome throughout the nearly two years of investigation,
18
     litigation, and parallel settlement negotiations. They, too, satisfy Rule 23(a)(4).
19
                        5.      Rule 23(b)(3)—Predominance: Common issues of law and fact
20                              predominate.
21
                 “The predominance inquiry ‘asks whether the common, aggregation-enabling, issues in
22
     the case are more prevalent or important than the non-common, aggregation-defeating, individual
23
     issues.’” Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036, 1045 (2016). Thus, “[w]hen common
24
     questions present a significant aspect of the case and they can be resolved for all members of the
25
     class in a single adjudication, there is clear justification for handling the dispute on a
26
     representative rather than on an individual basis.” Hanlon, 150 F.3d at 1022.
27

28
                                                                         MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                       - 11 -        SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                             MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 21 of 45



 1               The Ninth Circuit therefore favors class treatment of fraud claims stemming from a
 2   “‘common course of conduct.’” See In re First Alliance Mortg. Co., 471 F.3d 977, 990 (9th Cir.
 3   2006); Hanlon, 150 F.3d at 1022-23. Even outside of the settlement context, predominance is
 4   readily met for consumer claims arising from the defendants’ common course of conduct. See
 5   Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 625 (1997); Wolin v. Jaguar Land Rover N. Am.,
 6   LLC, 617 F.3d 1168, 1173, 1175 (9th Cir. 2010) (consumer claims based on uniform omissions
 7   certifiable where “susceptible to proof by generalized evidence,” even if individualized issues
 8   remain); Friedman v. 24 Hour Fitness USA, Inc., No. CV 06-6282 AHM (CTx), 2009 WL
 9   2711956, at *8 (C.D. Cal. Aug. 25, 2009) (“Common issues frequently predominate” in actions
10   alleging “injury as a result of a single fraudulent scheme.”).
11               Here, too, questions of law and fact common to the Settlement Class members’ claims
12   predominate over any questions affecting only individual members because the common issues
13   “turn on a common course of conduct by the defendant . . . in [a] nationwide class action.” See
14   Hyundai, 926 F.3d at 559 (citing Hanlon, 150 F.3d at 1022–23). Similar to Hyundai, Defendants’
15   common course of conduct—the alleged manipulation of emissions and fuel economy test
16   results—are central to the claims asserted in the Amended Complaint. Common, unifying
17   questions as to the Defendants’ conduct include, for example, “(1) ‘[w]hether the fuel economy
18   statements were in fact inaccurate’; and (2) ‘whether [the Defendants] knew that their fuel
19   economy statements were false or misleading.’” Id. The alleged misrepresentations to the Class
20   were (among other sources) “uniformly made via Monroney stickers.” Id. As such, Defendants
21   allegedly “perpetrated the same fraud in the same manner against all Class Members.” VW 2L
22   Preliminary Approval Order, 2016 WL 4010049, at *12. Predominance is satisfied.
23                      6.      Rule 23(b)(3)—Superiority: Class treatment is superior to other
                                available methods for the resolution of this case.
24

25               Superiority asks “whether the objectives of the particular class action procedure will be
26   achieved in the particular case.” Hanlon, 150 F.3d at 1023. In other words, it “requires the court
27   to determine whether maintenance of this litigation as a class action is efficient and whether it is
28   fair.” Wolin, 617 F.3d at 1175-76. Under Rule 23(b)(3),
                                                                         MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                       - 12 -        SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                             MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 22 of 45



 1                      the Court evaluates whether a class action is a superior method of
                        adjudicating plaintiff’s claims by evaluating four factors: “(1) the
 2                      interest of each class member in individually controlling the
                        prosecution or defense of separate actions; (2) the extent and nature
 3                      of any litigation concerning the controversy already commenced by
                        or against the class; (3) the desirability of concentrating the
 4                      litigation of the claims in the particular forum; and (4) the
                        difficulties likely to be encountered in the management of a class
 5                      action.”
 6   Trosper v. Styker Corp., No. 13-CV-0607-LHK, 2014 WL 4145448, at *17 (N.D. Cal. Aug. 21,

 7   2014).

 8               Class treatment here is far superior to the litigation of well over 500,000 individual

 9   consumer actions. “From either a judicial or litigant viewpoint, there is no advantage in individual

10   members controlling the prosecution of separate actions. There would be less litigation or

11   settlement leverage, significantly reduced resources and no greater prospect for recovery.”

12   Hanlon, 150 F.3d at 1023; see also Wolin, 617 F.3d at 1176 (“Forcing individual vehicle owners

13   to litigate their cases, particularly where common issues predominate for the proposed class, is an

14   inferior method of adjudication.”). The maximum damages sought by each Settlement Class

15   member (ranging from $250 to $1,109.66 per Fuel Economy Class Vehicle, up to $200 for each

16   Other Class Vehicle, and an additional $250 for Sport+ Vehicles) are significant to individual

17   Class members but relatively small in comparison to the substantial cost of prosecuting individual

18   claims, especially given the technical nature of the claims at issue. See Smith v. Cardinal

19   Logistics Mgmt. Corp., No. 07-2104 SC, 2008 WL 4156364, at *11 (N.D. Cal. Sept. 5, 2008)

20   (small interest in individual litigation where damages averaged $25,000-$30,000 per year of

21   work).

22               Class resolution is also superior from an efficiency and resource perspective. Indeed, “[i]f

23   Class Members were to bring individual lawsuits against [Defendants], each Member would be

24   required to prove the same wrongful conduct to establish liability and thus would offer the same

25   evidence.” VW 2L Preliminary Approval Order, 2016 WL 4010049, at *12. Given that the

26   conduct at issue involves over 500,000 Class Vehicles, “there is the potential for just as many

27   lawsuits with the possibility of inconsistent rulings and results.” Id. “Thus, classwide resolution

28   of their claims is clearly favored over other means of adjudication, and the proposed Settlement

                                                                          MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                        - 13 -        SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                              MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 23 of 45



 1   resolves Class Members’ claims at once.” Id. Superiority is met here, and Rule 23(e)(1)(B)(ii) is
 2   satisfied.
 3                                                       ***
 4               The Settlement Class meets all relevant requirements of Rule 23(a) and (b). Plaintiffs thus
 5   request that the Court confirm the certification of the Settlement Class and the appointment of the
 6   Settlement Class Representatives.
 7               B.     The Settlement is fair, reasonable, and adequate.
 8               A “district court’s task in reviewing a settlement is to make sure it is ‘not the product of
 9   fraud or overreaching by, or collusion between, the negotiating parties, and that the settlement,
10   taken as a whole, is fair, reasonable and adequate to all concerned.’” In re Volkswagen “Clean
11   Diesel” Mktg., Sales Pracs., & Prod. Liab. Litig., 895 F.3d 597, 617 (9th Cir. 2018) (quoting
12   Officers for Justice v. Civil Serv. Comm’n, 688 F.2d 615, 625 (9th Cir. 1982)). As detailed above,
13   many Class members stand to recover their damages in full under the proposed Settlement, and all
14   Class members are eligible for significant compensation tethered to the degree of impact on their
15   specific vehicle model and year. This remarkable result, and all of the factors set forth in Fed. R.
16   Civ. P. 23(e)(2), weigh strongly in favor of final approval. Indeed, in granting preliminary
17   approval, the Court already observed that the proposed Settlement “appears to be fair, reasonable,
18   and adequate” such that it would “likely” be able to approve it. Dkt. 7997 at 2, 4. These same
19   conclusions support final approval here.
20                      1.      Rule 23(e)(2)(A): Class Counsel and the Settlement Class
                                Representatives have and will continue to zealously represent the
21                              Class.
22               Class Counsel and the Class Representatives fought hard to protect the interests of the
23   Class. These efforts find no better evidence than the outstanding results achieved through the
24   proposed Settlement. Indeed, the vast majority of Fuel Economy Class members stand to be fully
25   compensated for their damages, and Sport+ and Other Class Vehicle Class members will each be
26   eligible for substantial cash compensation that reflects how their Class Vehicles were affected by
27   the conduct at issue. See Section II.A.
28
                                                                           MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                        - 14 -         SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                               MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 24 of 45



 1               As this outcome reflects, Class Counsel showed dedication to investigating, prosecuting,
 2   and resolving this action over the course more than two years. See Fed. R. Civ. P. 23(e)(2)(A). As
 3   detailed above, Class Counsel undertook significant efforts to uncover the facts to continuously
 4   pursue and refine the Class claims. Class Counsel also engaged in robust Rule 12 motion
 5   practice—including researching, drafting, and filing a 60-page brief in opposition to the
 6   Defendants’ thorough motion to dismiss, a process that fleshed out the strengths and
 7   vulnerabilities of Plaintiffs’ claims. Class Counsel were therefore well-positioned to evaluate the
 8   case and to negotiate a fair and reasonable Settlement. See Ontiveros v. Zamora, 303 F.R.D. 356,
 9   371 (E.D. Cal. 2014). They have done so.
10               The Settlement Class Representatives are also actively engaged. Each was consulted on
11   the terms of the Settlement and has expressed their support and continued willingness to protect
12   the Class until the Settlement is approved and its administration completed. Stellings Decl. ¶ 20.
13   The Class was and remains well represented.
14                      2.     Rule 23(e)(2)(B): The Settlement is the product of good faith,
                               informed, and arm’s-length negotiations.
15

16               As the Court observed in granting preliminary approval, the proposed Settlement arose out
17   of “intensive, thorough, serious, informed, and non-collusive negotiations.” Dkt. 7997 at 2; see
18   also Fed. R. Civ. P. 23(e)(2)(B). Negotiations leading up to the proposed Settlement took place
19   between sophisticated parties that endured for more than a year’s time. The relatively lengthy
20   timeframe reflects the detailed and technical nature of the negotiations, and efforts to inform and
21   support them through a parallel investigatory process involving numerous experts and multiple
22   rounds of vehicle testing by both Plaintiffs and Defendants. The Parties also engaged in extensive
23   document and information exchanges. As part of this process, Plaintiffs carefully analyzed
24   hundreds of thousands of documents obtained through discovery in this litigation, including many
25   complex and technical German language documents made available to Plaintiffs in Germany, as
26   well as a cache of documents produced in the MDL and identified through targeted searches.
27   Stellings Decl. ¶¶ 5, 27.
28
                                                                        MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                      - 15 -        SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                            MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 25 of 45



 1               In this case, the robust exchange of information and documents further demonstrates that
 2   the Settlement was reached in a procedurally fair manner between well-informed parties. See
 3   4 Newberg § 13:49 (5th ed. 2012) (extensive exchange of information in litigation supports the
 4   assumption that “the parties have a good understanding of the strengths and weaknesses of their
 5   respective cases and hence that the settlement’s value is based upon such adequate information”);
 6   In re Anthem, Inc. Data Breach Litig., 327 F.R.D. 299, 320 (N.D. Cal. 2018) (concluding that an
 7   extensive discovery exchange gave the parties “a good sense of the strength and weaknesses of
 8   their respective cases” and was “indicative of a lack of collusion” between them); Elder v. Hilton
 9   Worldwide Holdings, Inc., No. 16-CV-00278-JST, 2021 WL 4785936, at *7 (N.D. Cal. Feb. 4,
10   2021) (“[T]he extent of discovery completed supports approval of a proposed settlement” in
11   particular where the litigation has “proceeded to a point at which both plaintiffs and defendants
12   ha[ve] a clear view of the strengths and weaknesses of their cases.”); Ontiveros, 303 F.R.D. at
13   371 (granting final approval where class counsel had “conducted discovery and non-discovery
14   investigation” indicating that the parties carefully investigated claims before reaching a
15   resolution).
16               So too does the government’s role in reviewing and approving the revised fuel economy
17   labels for the Class Vehicles—which will be posted on the official government website,
18   www.fueleconomy.gov—and the ECR recall repair for the Sport+ Class Vehicles. These
19   government-approved changes underlie the compensation model in the Settlement. The
20   procedurally fair manner in which this Settlement was reached, coupled with the government’s
21   role, weighs “heavily in favor” of granting final approval. See VW 2L Final Approval Order,
22   2016 WL 6248426, at *14; see also In re Volkswagen "Clean Diesel" Mktg., Sales Pracs., &
23   Prod. Liab. Litig., 895 F.3d at 610 n.18 (recognizing “the presence of a governmental participant”
24   as a factor favoring approval); Marshall v. Holiday Magic, Inc., 550 F.2d 1173, 1178 (9th Cir.
25   1977) (“The participation of a government agency serves to protect the interests of the class
26   members, particularly absentees, and approval by the agency is an important factor for the court’s
27   consideration.”).
28
                                                                        MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                      - 16 -        SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                            MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 26 of 45



 1               Finally, it bears mention that Class Counsel, based on their own significant experience in
 2   complex vehicle emissions cases like this one, are confident in the proposed result and the
 3   process used to reach it. See, e.g., In re Volkswagen "Clean Diesel" Mktg., Sales Pracs., & Prod.
 4   Liab. Litig., No. MDL 2672 CRB (JSC), 2019 WL 2077847, at *1 (N.D. Cal. May 10, 2019)
 5   (granting final settlement approval where “Lead Counsel ha[d] . . . a successful track record of
 6   representing [plaintiffs] in cases of this kind . . . [and] attest[ed] that both sides engaged in a
 7   series of intensive, arm’s-length negotiations” and there was “no reason to doubt the veracity of
 8   Lead Counsel’s representations”). This, too, supports approval.
 9                      3.      Rule 23(e)(2)(C): The Settlement provides substantial compensation in
                                exchange for the compromise of strong claims.
10

11               Avoiding years of additional, risky litigation in exchange for immediate and significant
12   cash payments is a principled compromise that works to the clear benefit of the Class in this case.
13   See Fed. R. Civ. P. 23(e)(2)(C). The Settlement secures at least $80 million (and up to $85
14   million) to compensate Class members for the effects of Defendants’ alleged practices of
15   improperly influencing regulatory test results. The compensation available for Fuel Economy
16   Class Vehicles consists of (1) the difference in cost for the amount of gasoline that would have
17   been required under the original Monroney fuel economy label and the greater amount required
18   under the adjusted fuel economy label, and (2) a goodwill payment of an additional 15% of those
19   damages to compensate for any inconvenience. This compensation formula is nearly identical to
20   that approved by the Court in the similar Audi CO2 Fuel Economy matter, with the exception that
21   the gas price increased from $3.54 to $3.97 to account for inflation in the years after that
22   settlement, and the miles per year were pegged to real-world data about these specific vehicles.
23   See In re Volkswagen “Clean Diesel,” No. 15-md-2672, Dkts. 6764, 7244.
24               The compensation for Sport+ and Other Class Vehicles is similarly significant, including
25   a cash benefit of $250 to Sport+ Class members to incentivize and compensate them for the time
26   in bringing their Class Vehicles to a dealership to receive the ECR, and a payment of up to $200
27   per vehicle to compensate Other Class Vehicle Class members whose vehicles conceivably could
28   have been impacted by the conduct at issue, but for which no deviations were identified.
                                                                         MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                       - 17 -        SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                             MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 27 of 45



 1               This is an exceptional result for the compromise of contested claims that have not yet
 2   survived a motion to dismiss. In short, the Settlement provides the Class significant cash
 3   payments now, not years from now (if ever). Clearly, the settlement reflects a fair, reasonable,
 4   and adequate compromise of Plaintiffs’ claims, especially considering (i) the costs, risks, and
 5   delay of trial and appeal and (ii) the effectiveness of the proposed distribution plan. See Fed. R.
 6   Civ. P. 23(e)(2)(C).
 7                              a.      The Settlement mitigates the risks, expenses, and delays the
                                        Class would bear with continued litigation.
 8

 9               Plaintiffs believed in the strength of their case and were prepared to take it all the way to
10   trial. But many hurdles lay ahead. Most immediately, Plaintiffs’ claims have not yet survived
11   Defendants’ comprehensive motion to dismiss. The outcome of this motion is by no means a
12   guarantee.
13               For example, a court in the Eastern District of Michigan recently dismissed a similar
14   lawsuit alleging that a vehicle manufacturer improperly influenced its testing and test results to
15   obtain improperly inflated fuel economy ratings. The defendants there, like Defendants here,
16   argued that such claims were preempted by the EPCA. The court agreed, and dismissed the case
17   entirely. See In re Ford Motor Co. F-150, 2022 WL 551221, at *12. While other authority
18   supports Plaintiffs’ arguments against preemption in this case,7 the Ford Ranger decision makes
19   clear that the threat to Plaintiffs’ claims from Defendants’ preemption arguments is very real.
20               Success on Plaintiffs’ individual state-law claims was likewise not guaranteed. Indeed,
21   courts have dismissed similar state-law claims in recent automotive cases. See, e.g., Gant v. Ford
22   Motor Co., 517 F. Supp. 3d 707, 719 (E.D. Mich. 2021) (dismissing Michigan Consumer
23   Protection Act claim and concluding that motor vehicle sales and lease transactions are not
24   covered by the statute); In re Chrysler-Dodge-Jeep EcoDiesel Mktg., Sales Practices & Prods.
25   Liab. Litig., 295 F. Supp. 3d 927, 1027 (N.D. Cal. 2018) (dismissing plaintiffs’ common law
26   fraud claims, and various other state-law claims for lack of privity and failure to obtain approval
     7
27     See Dkt. 7884 at 19-30; see also, e.g., In re Toyota Rav4 Hybrid Fuel Tank Litig., 534 F. Supp.
     3d 1067, 1095 (N.D. Cal. 2021) (rejecting EPCA/FTC preemption where plaintiffs alleged that
28   failure to obtain advertised mileage range was due to diminished fuel tank capacity).
                                                                           MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                        - 18 -         SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                               MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 28 of 45



 1   of state attorneys general); Counts v. Gen. Motors, LLC, 237 F. Supp. 3d 572, 594 (E.D. Mich.
 2   2017) (similar). Plaintiffs would likely face these same challenges, and others, here.
 3               If Defendants were to prevail in dismissing some (or all) of Plaintiffs’ claims, Plaintiffs
 4   would lose considerable leverage. And even if not, Plaintiffs would still face an expensive,
 5   lengthy, and uncertain process for certifying a litigation class. Assuming their claims ultimately
 6   made it to trial, moreover, Plaintiffs would still have to prove an intricate and technical multi-
 7   party fraud, among many other things. And if Plaintiffs prevailed at trial, they would have to re-
 8   litigate virtually all of these issues in the inevitable appeals. Notably, Plaintiffs would stand alone
 9   in facing all of these challenges in continued litigation, without governmental support in the
10   litigation or discovery efforts.
11               The proposed Settlement eliminates all of this risk and expense, cuts through the delay,
12   and provides immediate and significant compensation to the Class. This factor strongly favors
13   final approval. See Nobles v. MBNA Corp., No. C 06-3723 CRB, 2009 WL 1854965, at *2 (N.D.
14   Cal. June 29, 2009) (“The risks and certainty of recovery in continued litigation are factors for the
15   Court to balance in determining whether the Settlement is fair.”) (citing In re Mego Fin. Corp.
16   Sec. Litig., 213 F.3d 454, 458 (9th Cir. 2000); Kim v. Space Pencil, Inc., No. C 11-03796 LB,
17   2012 WL 5948951, at *5 (N.D. Cal. Nov. 28, 2012) (“The substantial and immediate relief
18   provided to the Class under the Settlement weighs heavily in favor of its approval compared to
19   the inherent risk of continued litigation, trial, and appeal, as well as the financial wherewithal of
20   the defendant.”); VW 2L Final Approval Order, 2016 WL 6248426, at *12; Fed. R. Civ. P.
21   23(e)(2)(C)(i).
22                              b.      Class members will obtain relief through a straightforward
                                        claims process.
23
                 The Parties designed a simple and efficient claims process in order to maximize Class
24
     member participation. For Fuel Economy and Other Class Vehicles, Class members need only
25
     submit a short claim form online or by mail with basic supporting documentation (e.g., purchase
26
     agreement, sale documentation, and/or proof of current registration). No further action is required.
27
     Fuel Economy and Other Class members who have submitted a complete and valid claim will
28
                                                                          MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                        - 19 -        SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                              MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 29 of 45



 1   receive compensation after the claims deadline, currently set for November 7, 2022. SA ¶ 2.6.
 2   Sport+ Class members will receive additional compensation automatically after completing an
 3   ECR Sport+ upgrade in their vehicle within eighteen months of the Preliminary Approval Order.
 4   SA ¶ 2.6.8 Class members will be able to select streamlined forms of e-payments, including
 5   through Venmo, PayPal, and other forms of online transfer. The Settlement’s method for
 6   processing claims and distributing relief is straightforward, fair, and reasonable. See Fed. R. Civ.
 7   P. 23(e)(2)(C)(ii).
 8                              c.      Counsel seek reasonable attorneys’ fees and costs.
 9               Class Counsel’s reasonable fee request is detailed below (§ III.D) but in this context it is
10   worth reiterating that “terms of . . . [the] proposed award of attorneys’ fees” are fair and
11   reasonable, particularly in light of the substantial recovery of a non-reversionary fund of at least
12   $80 million (up to $85 million) that stands to provide full compensation for many Class
13   members. See Fed. R. Civ. P. 23(e)(2)(C)(iii).
14                      4.      Rule 23(e)(2)(D): The Proposed Settlement treats all Class members
                                equitably relative to one another.
15

16               In granting Preliminary Approval, the Court observed that the proposed Settlement “does
17   not improperly grant preferential treatment to . . . segments of the Class.” Dkt. 7997 at ¶ 1. This
18   remains true. Indeed, each Class member stands to receive a cash payment tied directly to how,
19   and how much, their Class Vehicles were demonstrably affected by the alleged testing practices at
20   issue. For Fuel Economy Class Vehicles, the Settlement fairly and reasonably allocates payments
21   among the Class members pursuant to a straightforward formula tied to the duration of possession
22   of the Class Vehicle and the difference between the original and amended mileage ratings for
23   each make and model. For Other Class Vehicles and Sport+ Class Vehicles, the Settlement offers
24   a fixed cash payment (up to $200 and $250, respectively) that applies equally to all eligible Class
25   members.
26
     8
      The small population of Sport+ Class members for whom an ECR has not yet been formally
27   approved by the regulators will receive notice of the need to submit a claim form. Should
     approval of the ECR occur prior to the conclusion of the Claims Period, they too will receive
28   payments automatically without the need to submit a claim.
                                                                          MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                        - 20 -        SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                              MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 30 of 45



 1               This system uses transparent and objective criteria to determine Class member payments,
 2   thus ensuring that the Settlement treats Class members equitably relative to one another. See Fed.
 3   R. Civ. P. 23(e)(2)(D); see also In re Hyundai & Kia Fuel Econ. Litig., No. MDL 13-2424-
 4   GW(FFMx), 2014 WL 12603199, at *2 (C.D. Cal. Aug. 21, 2014) (approving similar settlement
 5   where payment amounts varied between make and model years and “correlated to the amount of
 6   the fuel economy misstatements” and thus “differences between the recovery amounts stem[med]
 7   mostly from differences in the damages suffered . . . rather than any improper favoring of one
 8   group of Class Members over another”).
 9                      5.      The Settlement satisfies the Ninth Circuit’s approval factors.
10               The Ninth Circuit has identified a number of additional factors for courts to consider when
11   evaluating the fairness, reasonableness, and adequacy of a class action settlement. Those factors
12   include: (1) the strength of the plaintiffs’ case; (2) the risk, expense, complexity, and likely
13   duration of further litigation; (3) the risk of maintaining class action status throughout the trial;
14   (4) the amount offered in settlement; (5) the extent of discovery completed and the stage of the
15   proceedings; (6) the experience and views of counsel; (7) the presence of a governmental
16   participant; and (8) the reaction of the class members of the proposed settlement. In re Bluetooth
17   Headset Prods. Liab. Litig., 654 F.3d 935, 946 (9th Cir. 2011). Many of these—e.g., the strength
18   of plaintiffs’ case, the risk and duration of further litigation, and the amount offered—overlap
19   with the Rule 23(e)(2)(C) factors and are addressed above. The remainder, addressed below,
20   favor final approval as well.
21                              a.      Class Counsel endorse the Settlement.
22               In considering whether to grant final approval, courts are entitled to give “considerable
23   weight” to the opinions of experienced class counsel who are familiar with the litigation.
24   Ontiveros, 303 F.R.D. at 371 (citing Hanlon, 150 F.3d at 1026); see also VW 2L Final Approval
25   Order, 2016 WL 6248426, at *14 (“Courts afford ‘great weight to the recommendation of
26   counsel, who are most closely acquainted with the facts of the underlying litigation.’”) (quoting
27   Nat’l Rural Telecomms. Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 528 (C.D. Cal. 2004)); see also
28   In re Volkswagen, 2019 WL 2077847, at *1 (granting final settlement approval where “Lead
                                                                         MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                       - 21 -        SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                             MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 31 of 45



 1   Counsel . . . attest[ed] that both sides engaged in a series of intensive, arm’s-length negotiations”
 2   and there was “no reason to doubt the veracity of Lead Counsel’s representations”).
 3               Proposed Settlement Class Counsel are deeply experienced in complex class action
 4   litigation and settlement—including in complex cases of alleged emissions and fuel economy test
 5   irregularities like this one. Based on this experience, proposed Settlement Class Counsel firmly
 6   believe that the Settlement provides an excellent outcome for all Class members in the face of the
 7   uncertainties in continued litigation, and strongly recommend its approval.
 8                              b.     The government’s independent check on the fuel economy
                                       revisions and Sport+ recall repair favors final approval.
 9

10               The EPA and CARB independently reviewed the test results on which the Settlement is
11   predicated, including the adjustments to the Fuel Economy Class Vehicle mileage ratings that
12   underpin the Settlement’s payment formula for those vehicles. These revisions will be posted to
13   the official U.S. Department of Energy website, www.fueleconomy.gov. Likewise, the regulators
14   assessed and approved the ECR software reflash for Sport+ Class Vehicles. The government’s
15   independent review and confirmation demonstrates that the basis on which the Parties’ reached
16   the proposed resolution was sound and thus also counsels in favor of final approval.
17                              c.     The Class’ initial response has been positive.
18               The Class is already showing their support for the Settlement. With many months
19   remaining in the Claims period, more than 50,000 Class members have submitted claims or
20   brought their vehicles in for an ECR. Keough Decl. ¶ 25; Stellings Decl. ¶ 16. In contrast, no
21   potential Class member has objected to or commented on the Settlement. Keough Decl. ¶ 12.
22   Class Counsel will provide a full accounting of the information outlined in the District’s
23   Procedural Guidance once the Notice Program has been completed in full. As it stands, the
24   “encouraging” response from the Class supports final approval (id.), and Class Counsel have
25   every reason to believe it will stay that way.
26                                                      ***
27               The Settlement is fair, reasonable, and adequate, and merits final approval.
28
                                                                         MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                       - 22 -        SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                             MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 32 of 45



 1               C.     The Court should appoint Lead Plaintiffs’ Counsel as Settlement Class
                        Counsel under Rule 23(g)(1).
 2

 3               Lead Counsel and a number of the PSC firms have undertaken a significant amount of

 4   work, effort, and expense in litigating the Porsche Gasoline cases. See generally, Stellings Decl.

 5   Following these efforts, the Court previously appointed Lead Counsel as Interim Settlement Class

 6   Counsel at the preliminary approval stage. Dkt. 7997 at ¶ 10. In the intervening period, Lead

 7   Counsel has continued to demonstrate the skill and experience necessary to oversee and effectuate

 8   this Settlement through their efforts in the approval process and in overseeing the Notice Program

 9   roll out. Plaintiffs thus request that the Court appoint Lead Counsel as Settlement Class Counsel

10   under Rule 23(g)(1) in connection with Final Approval of the Settlement.

11               D.     Class Counsel’s requested fee is fair, reasonable, and appropriate.
12               “[L]awyer[s] who recover[] a common fund . . . [are] entitled to a reasonable attorney’s

13   fee from the fund as a whole.” Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980). In deciding

14   whether a requested fee amount is appropriate, the Court’s role is to determine whether such

15   amount is “‘fundamentally fair, adequate, and reasonable.’” Staton v. Boeing Co., 327 F.3d 938,

16   963 (9th Cir. 2003) (quoting Fed. R. Civ. P. 23(e)). In this Circuit, the determination typically

17   involves analysis of a number of factors, including: (1) the results achieved by class counsel;

18   (2) the complexity of the case and skill required; (3) the risks of litigation; (4) the benefits to the

19   class beyond the immediate generation of a cash fund; (5) the market rate of customary fees for

20   similar cases; (6) the contingent nature of the representation and financial burden carried by

21   counsel; and (7) a lodestar cross-check. See, e.g., In re Volkswagen "Clean Diesel" Mktg., Sales

22   Practices, & Prods. Liab. Litig., No. 2672 CRB (JSC), 2017 WL 1047834, at *1 (N.D. Cal. Mar.

23   17, 2017) (“VW 2L Fee Order”) (citing Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1048-52 (9th

24   Cir. 2002)); see also Six (6) Mexican Workers v. Ariz. Citrus Growers, 904 F.2d 1301, 1311 (9th

25   Cir. 1990). Each of these factors supports Class Counsel’s request in this case.

26                      1.      Class Counsel obtained substantial cash compensation for the Class.
27               The benefit Class Counsel secured for the Class is the single most important factor in

28   evaluating the reasonableness of a requested fee. In re Bluetooth, 654 F.3d at 942; In re

                                                                         MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                       - 23 -        SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                             MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 33 of 45



 1   Omnivision Techs., Inc., 559 F. Supp. 2d 1036, 1046 (N.D. Cal. 2008); see also In re Nexus 6P
 2   Prod. Liab. Litig., No. 17-CV-02185-BLF, 2019 WL 6622842, at *12 (N.D. Cal. Nov. 12, 2019)
 3   (“The most critical factor is the results achieved for the class.”); Hensley v. Eckerhart, 461 U.S.
 4   424, 436 (1983) (same); Federal Judicial Center, Manual for Complex Litigation § 21.71 (4th ed.)
 5   (“The “fundamental focus is the result actually achieved for class members.”) (citing Fed. R. Civ.
 6   P. 23(h) committee note). Put simply, “[o]utstanding results merit a higher fee.” CRT Antitrust
 7   Litig., 2016 WL 4126533, at *4 (citing Omnivision Techs., 559 F. Supp. 2d at 1046). That
 8   principle strongly supports the requested fees here.
 9               As described in detail above, the proposed Settlement provides sizeable monetary relief—
10   at least $80 million and up to $85 million—to the Class. Individual compensation to Class
11   members is similarly substantial, and fairly reflects the potential impact of the relevant practices
12   on their Class Vehicles. The settlement provides the vast majority of Fuel Economy Class
13   members with 100% of their damages. The remainder stand to receive at a minimum a very high
14   percentage of recoverable damages, depending on the future, unknown price of gas.9 See, e.g.,
15   Dkt. 6634-3, Declaration of Edward M. Stockton, (opining that analogous compensation
16   framework provided “full” compensation to class members in a similar fuel economy settlement).
17               The compensation Other Class Vehicles and Sport+ Class Vehicles is similarly
18   significant. Payments include a cash benefit of $250 to Sport+ Class members to compensate
19   them for the time in bringing their Class Vehicles to a dealership to receive the ECR Sport+
20   upgrade, and a payment of up to $200 per vehicle to compensate Other Class Vehicle Class
21   members. Notably, the $250 Sport+ compensation will be paid to Class members in addition to
22   the separate payments for the Fuel Economy and Other Class Vehicle matters.
23
     9
       As explained in Plaintiffs’ motion for preliminary approval (Dkt. 7971 at 23), for most of the
24   Fuel Economy Class Vehicles (82%), the 96 months of fuel usage for which they will be
     compensated has already concluded. For these vehicles, the settlement payments provide full
25   compensation because the $3.97 price of fuel in the settlement generously estimates the average
     amount that the Fuel Economy Class members actually paid at the pump. For a small subset of
26   Fuel Economy Class Vehicles (approximately 18%) first sold or leased fewer than 96 months ago
     (i.e. model years 2015 and onward), the 96 month compensation period is ongoing. Because the
27   parties cannot predict the uncertainty of future gas prices, the $3.97 figure—which is based on
     historic averages and adjusted for inflation—remains a fair and practicable way to approximate
28   the fuel costs for these vehicles as well.
                                                                       MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                      - 24 -       SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                           MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 34 of 45



 1               It also bears mention that even under the most ambitious potential claims rates—rates that
 2   Interim Settlement Class Counsel are working hard to achieve—funds are likely to remain.10 This
 3   means that after redistribution back to the Class the compensation figures outlined above will
 4   only increase, and all participating Class members are likely to receive full compensation, or
 5   more.
 6               It is “highly unusual” for a class action settlement to recover what is, by some measures,
 7   close to if not all of what the class could recover at trial. See In re Volkswagen "Clean Diesel"
 8   Mktg., Sales Practices, & Prods. Liab. Litig., 895 F.3d at 610. That this Settlement achieves such
 9   substantial relief through the compromise of contested claims is a remarkable result and strongly
10   supports the requested fees. See In re Nexus 6P Prod. Liab. Litig., 2019 WL 6622842, at *13
11   (upward adjustment from the 25% benchmark was warranted where settlement “allow[ed] all
12   class members to receive a monetary benefit”).
13                      2.      The Settlement resulted from Class Counsel’s zealous representation
                                in complex and risky litigation.
14

15               This was a complex case, both factually and legally. It involves numerous Defendants and
16   allegations of a wide-ranging and complex scheme. Defendants include three separate corporate
17   entities (two of them based in Germany) that played various roles in the manufacture, testing, or
18   sale of the Class Vehicles.
19               Investigating and uncovering the multiple strategies that could have led to irregularities in
20   the Class Vehicles’ fuel economy and emissions test results was even more technically
21   challenging—in particular given the range of Class Vehicles that were or may have been
22   implicated over the course of more than a decade of vehicle development—with vehicle models
23   dating as far back as 2005. Plaintiffs alleged in the Amended Complaint that the Fuel Economy
24   Class Vehicles’ inflated fuel economy ratings can be traced back to Defendants’ use of physically
25
     10
        The FTC, for example, concluded after substantial analysis that the mean and median claims
26   rates in class action settlements were 9% and 4% respectively, while the 90th percentile claims
     rate was 49%. See Consumers and Class Actions: A Retrospective and Analysis of Settlement
27   Campaigns, FTC Staff Report (Sept. 2019) at 11, 21. Settlements in this MDL have fared much
     better, and this one is likely to as well. But the point remains that even under the most optimistic
28   projections significant funds will likely remain for redistribution.
                                                                          MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                        - 25 -        SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                              MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 35 of 45



 1   doctored vehicles for emissions and fuel economy testing, such that the hardware and software in
 2   the tested vehicles differed in material ways from the hardware and software in vehicles that were
 3   sold to the public. Plaintiffs allege that this practice included testing vehicles with a lower gear
 4   ratio than the models ultimately produced. Dkt. 7969 ¶ 72. Investigating allegations of the
 5   physical alteration of a test vehicle in a laboratory nearly 20 years ago required comprehensive
 6   analysis of contemporaneous documentation and a rigorous vehicle testing program. Arriving at
 7   this nuanced understanding of the ways in which the Class Vehicles were or may have been
 8   impacted by the conduct at issue took time, effort, and expertise. To do so, Class Counsel worked
 9   closely with experts to understand the complex minutiae of the fuel economy and emissions
10   testing processes and regulatory frameworks.
11               Complexities aside, it was a risky case, too, for several reasons. First, unlike many other
12   emissions settlements, Class Counsel did not have the benefit or support of a Notice of Violation
13   from the government on which to ground their allegations and support their plausibility. Second,
14   and as detailed above, Plaintiffs claims have not yet survived a motion to dismiss, and would face
15   significant challenges in doing so, particularly in light of recent authority finding similar claims to
16   be preempted by the EPCA. See § III.B.3.a. Looking ahead, the case would face serious risks to
17   certifying a class of more than 500,000 consumers who purchased or leased different vehicle
18   models, for various reasons and from various sellers (including third parties not related to the
19   Defendants), over the course of 15 years.
20               That Class Counsel achieved such substantial relief in the face of all of this complexity
21   and risk speaks to their skill, effort, and dedication to the Class. It also strongly supports their fee
22   request. See, e.g., Hanlon, 150 F.3d at 1029 (The “complexity and novelty of the issues” can
23   justify upward departure from benchmark); In re Oracle Sec. Litig., 852 F. Supp. 1437, 1450–51
24   (N.D. Cal. 1994) (same).
25                      3.      Class Counsel’s requested fee percentage is reasonable, appropriate,
                                and strongly supported by precedent.
26

27               When a settlement establishes a common fund or calculable monetary benefit for a class,
28   it is both appropriate and preferred to award attorneys’ fees based on a percentage of the
                                                                          MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                        - 26 -        SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                              MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 36 of 45



 1   monetary benefit obtained. See Vizcaino, 290 F.3d at 1047.
 2               Class Counsel request 30% of the Settlement Fund in fees, plus reimbursement of costs
 3   they reasonably incurred in prosecuting this case, for a total of $24,710,733.89. As explained
 4   below, the requested fees, which represent a modest (and justified) upward departure from the
 5   Ninth Circuit’s typical 25% benchmark, fall within the usual range of awards routinely approved.
 6   In fact, in this circuit, “fee awards exceed[] the [25%] benchmark” in “most common fund cases,”
 7   and awards of 30% or more are common. In re NCAA, No. 4:14-MD-2541-CW, 2017 WL
 8   6040065, at *2; see also In re: CRT Antitrust Litig.,, 2016 WL 4126533, at *5 (N.D. Cal. Aug. 3,
 9   2016) (awarding 30% of $576,750,000 fund); Hernandez v. Dutton Ranch Corp., No. 19-CV-
10   00817-EMC, 2021 WL 5053476, at *6 (N.D. Cal. Sept. 10, 2021) (collecting cases and finding
11   that”[d]istrict courts within this circuit . . . routinely award attorneys’ fees that are one-third of the
12   total settlement fund . . . [s]uch awards are routinely upheld by the Ninth Circuit”).11
13               Regardless, this is no ordinary case. As discussed the above, the results achieved—
14   recovery at or near 100% of potential damages—are unusually strong and more than justify the
15   fees requested. Indeed, courts commonly “justif[y] upward departures from the 25% benchmark”
16   with “[f]ar lesser results (with 20% recovery of damages or less).” NCAA Antitrust Litig., 2017
17   WL 6040065, at *3 (collecting cases); see also In re Heritage Bond Litig., No. 02-ML-1475 DT,
18   2005 WL 1594403, at *19 (C.D. Cal. June 10, 2005) (settlement recovering 36% of available
19   damages was “exceptional result” justifying fee award of 33.33%) (collecting additional cases).
20               Consistent with this authority, in granting preliminary approval, the Court observed that
21   the anticipated fee request seemed “appropriate under the circumstances.” See June 29, 2022 Tr.
22   at 3-4. Class Counsel respectfully submit the request is indeed appropriate, as supported by the
23   exceptional results obtained for the Class in this case, and the thorough, focused, and technical
     11
24      See also, e.g., id. (“[T]he Ninth Circuit uses 25 percent of the fund as the presumptively
     reasonable ‘benchmark’ for awarding fees . . . it also recognizes that 20 to 30 percent is the usual
25   range for common fund fee recoveries . . .[The] exact percentage [awarded] varies depending on
     the facts of the case, and in most common fund cases, the award exceeds that benchmark.”)
26   (citations and quotation omitted); In re TFT–LCD (Flat Panel) Antitrust Litigation, No. MDL
     3:07–md–1827 SI, 2011 WL 7575003, *1 (N.D. Cal. Dec. 27, 2011) (awarding attorneys’ fees in
27   the amount of 30 percent of $405 million settlement fund); In re Mego Fin. Corp. Sec. Litig., 213
     F.3d 454, 463 (9th Cir. 2000), as amended (June 19, 2000) (upholding district court’s award of 33
28   1/3 percent of the settlement fund).
                                                                        MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                      - 27 -        SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                            MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 37 of 45



 1   work that Counsel undertook to obtain it.
 2                      4.      Class Counsel carried considerable financial burden in prosecuting
                                this complex litigation.
 3

 4               It is an established practice to reward attorneys who assume representation on a contingent
 5   basis to compensate them for the risk that they might be paid nothing at all. See In re Wash. Pub.
 6   Power Supply Sys. Sec. Litig., 19 F.3d 1291, 1299-1300 (9th Cir. 1994). Such a practice
 7   encourages the legal profession to assume such a risk and promotes competent representation for
 8   plaintiffs who could not otherwise hire an attorney. Id.; see also Vizcaino, 290 F.3d at 1051. Class
 9   Counsel devoted thousands of hours and advanced whatever expenses were necessary to
10   investigate and see this case through to a successful outcome, all with no guarantee of
11   reimbursement. Stellings Decl. ¶¶ 23-35. In so doing, Class Counsel “turn[ed] down opportunities
12   to work on other cases to devote the appropriate amount of time, resources, and energy necessary
13   to responsibly handle this complex case.” VW 2L Fee Order, 2017 WL 1047834, at *3. This
14   factor further supports Class Counsel’s request.
15                      5.      A lodestar cross-check confirms the requested fees are reasonable.
16               “Because the benefit to the class is easily quantified in common-fund settlements,” the
17   Ninth Circuit permits district courts “to award attorneys a percentage of the common fund in lieu
18   of the often more time-consuming task of calculating the lodestar.” Bluetooth, 654 F.3d at 942. In
19   common fund cases, “the primary basis of the fee award remains the percentage method.” In re
20   Lithium Ion Batteries Antitrust Litig., No. 13-md-2420-YGR, 2019 WL 3856413, at *7 (N.D. Cal
21   Aug. 16, 2019) (quoting Vizcaino, 290 F.3d at 1050 & n.5); cf. Craft v. Cty. of San Bernardino,
22   624 F. Supp. 2d 1113, 1122 (C.D. Cal. 2008) (“A lodestar cross-check is not required in this
23   circuit, and in some cases is not a useful reference point.”); Aichele v. City of Los Angeles, No.
24   CV-12-10863-DMG, 2015 WL 5286028, at *6 (C.D. Cal. Sept. 9, 2015) (same). Nevertheless,
25   courts sometimes employ a “streamlined” lodestar analysis to “cross-check” the reasonableness of
26   a requested award. See, e.g., Vizcaino, 290 F.3d at 1050 (“[W]hile the primary basis of the fee
27   award remains the percentage method, the lodestar may provide a useful perspective on the
28   reasonableness of a given percentage award.”). In so doing, “[t]he lodestar crosscheck need not
                                                                        MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                       - 28 -       SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                            MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 38 of 45



 1   entail either mathematical precision or bean counting.” Rieckborn v. Velti PLC, No. 13-3889,
 2   2015 WL 468329, at *21 (N.D. Cal. Feb. 3, 2015).
 3               As explained below and in the accompanying Stellings Declaration,12 Class Counsel
 4   worked a reasonable number of hours billed at reasonable rates under the circumstances of this
 5   complex, multi-district litigation. The resulting lodestar of $12,261,791.50 yields a modest
 6   multiplier of 1.96 for work performed to date and 1.86 including time anticipated for the on-the-
 7   ground work necessary to implement, oversee, and protect this Settlement through potential
 8   appeals. Stellings Decl. ¶¶ 23-25. Either multiplier is well within—and, indeed, on the low end
 9   of—the “presumptively acceptable range of 1.0-4.0” in this Circuit. Dyer v. Wells Fargo Bank,
10   N.A., 303 F.R.D. 326, 334 (N.D. Cal. 2014); see also Vizcaino, 290 F.3d at 1051 n.6 (approving
11   3.65 multiplier, and citing appendix of cases showing “a range of 0.6-19.6, with most . . . from
12   1.0-4.0 and a bare majority . . . in the 1.5-3.0 range”).
13               Notably, this lodestar calculation is based on the historical, “then-present” billing recorded
14   in the monthly time reports submitted to Lead Counsel since the inception of this case. Stellings
15   Decl. ¶ 26. This is, if anything, a conservative calculation of the lodestar given that it is a “well
16   established” common practice for “attorneys in common fund cases” to adjust their billing to their
17   current rates to account for “any delay in payment.” Hefler v. Wells Fargo & Co., No. 16-CV-
18   05479-JST, 2018 WL 6619983, at *14 n.17 (N.D. Cal. Dec. 18, 2018) (quoting Fischel v.
19   Equitable Life Assurance Soc’y of U.S., 307 F.3d 997, 1010 (9th Cir. 2002)). Had Counsel made
     12
20      The Stellings Declaration includes, among other information: (1) the total common benefit
     hours billed, lodestar incurred, and blended average billing rate; and (2) the total common benefit
21   hours billed, lodestar incurred, range of billing rates, and blended average billing rates for each
     category of timekeeper (Partner, Associate, Non-Partner-Track Attorney, and other professional).
22   This detailed declaration comports with the Court’s directives and this District’s Procedural
     Guidance for Class Action Settlements. See Procedural Guidance, Attorneys’ Fees
23   (“Declarations of class counsel as to the number of hours spent on various categories of activities
     related to the action by each biller, together with hourly billing rate information may be sufficient,
24   provided that the declarations are adequately detailed.”); see also VW 2L Fee Order, 2017 WL
     1047834, at *5, n.5 (finding that class counsel had complied with similar pretrial order and
25   overruling objection that more lodestar information was necessary in similar fee application
     because “it is well established that ‘[t]he lodestar cross-check calculation need entail neither
26   mathematical precision nor bean counting . . . [courts] may rely on summaries submitted by the
     attorneys and need not review actual billing records.’”) (quoting Bellinghausen v. Tractor Supply
27   Co., 306 F.R.D. 245, 264 (N.D. Cal. 2015)). Class Counsel are nevertheless prepared to submit
     detailed copies of the thousands of individual time entries should the Court wish to engage in a
28   line-by-line review.
                                                                          MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                        - 29 -        SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                              MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 39 of 45



 1   those adjustments here, the lodestar would have increased and the multiplier decreased
 2   significantly.
 3                             a.        Class Counsel expended a reasonable number of hours
                                         advancing this complex litigation.
 4

 5               As summarized above, this was a technical case requiring thorough investigation and
 6   analysis. See, e.g., § II, supra; Stellings Decl. ¶¶ 2-11. Class Counsel reviewed and analyzed
 7   hundreds of thousands of documents obtained through discovery for Plaintiffs’ claims in the
 8   Porsche Gasoline matter, and millions more of pages of relevant documents in the MDL, all of
 9   which informed the efforts to prosecute Plaintiffs’ claims. Stellings Decl. ¶¶ 5, 27. Reviewing,
10   coding, analyzing and summarizing this discovery was a very significant undertaking that was
11   critical to the litigation and resolution of this case. Id. So too were the extensive testing efforts
12   that were undertaken throughout the pendency of the litigation and settlement process on an
13   evolving—and large—group of affected and potentially affected vehicles. Id. ¶¶ 5, 9-10. Class
14   Counsel also engaged in thorough legal research and briefing efforts on dispositive issues at the
15   motion to dismiss stage. Id. ¶¶ 6, 28. The settlement process itself also took a lot of time and
16   persistence, and involved dozens of meetings, conferences, calls, and much more, including in
17   New York, Stuttgart, and Weissach. Id. ¶¶ 8-10. Underpinning all of this was Class Counsel’s
18   work to fully understand the complex regulations and procedures for fuel economy measurement,
19   testing, and reporting in the United States that provided the framework for understanding the
20   allegations and alleged damages in this case. As this (partial) list demonstrates, this litigation (and
21   its result) took a lot of effort.
22               In furtherance of these common benefit efforts, among many others, Class Counsel
23   worked a reasonable 27,888.80 hours. Id. ¶¶ 23-28. Based on their experience in defending and
24   implementing other automotive class settlements, Class Counsel estimate that approximately
25   1,500 more hours will be necessary for the on-the-ground efforts to finalize, implement, and
26   protect the Settlement. This will include, for example, work required to: (1) obtain final approval
27   of the Settlement; (2) protect the Settlement on appeal (if any appeals are lodged); and (3) oversee
28   and help implement the Settlement, which will include, among other things, responding to
                                                                        MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                      - 30 -        SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                            MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 40 of 45



 1   inquiries from Class members who owned or leased one of the approximately 500,000 Class
 2   Vehicles. Id. ¶ 24. Class Counsel’s reasonable hours appropriately reflect the efforts necessary to
 3   secure and protect the favorable outcome here.
 4                             b.      Class Counsel billed reasonable rates for those hours.
 5               The blended average billing rate for the work described above is approximately $439.67
 6   per hour. Id. ¶ 23. This is in line with average rates in this District and reasonable here given the
 7   skill, experience, and reputation of Class Counsel and the PSC—all of whom were appointed
 8   through a competitive leadership application process. See, e.g., In re Volkswagen "Clean Diesel"
 9   Mktg., Sales Practices, & Prods. Liab. Litig., No. 2672 CRB (JSC), Dkt. 3396-2 ¶ 29 (N.D. Cal.
10   June 30, 2017) (noting that the average blended rate of 40 class action settlements approved in
11   this District in 2016 and 2017 was $528.11 per hour); VW 2L Fee Order, 2017 WL 1047834, at
12   *5 (approving blended average billing rate of $529 per hour in this MDL).13
13                             c.      Class Counsel’s performance and the results achieved justify a
                                       reasonable lodestar multiplier.
14

15               The Ninth Circuit requires an upward multiplier when certain risk factors are present and
16   authorizes a multiplier for certain “reasonableness” factors, including the quality of
17   representation, the complexity of the issues presented, and most importantly, the benefit obtained
18   for the class. See, e.g., Stetson v. Grissom, 821 F.3d 1157, 1166 (9th Cir. 2016); Kerr v. Screen
19   Extras Guild, Inc., 526 F.2d 67, 70 (9th Cir. 1975); In re Bluetooth, 654 F.3d at 942. As noted
20   above, in this Circuit, multipliers in the 1-4 range are “presumptively acceptable.” Dyer, 303
21   F.R.D. at 334. Moreover, multipliers for large settlements, like this one, tend to fall on the high
22   end of this range. The Eisenberg-Miller 2017 study, for example, found that the average
23   multiplier in cases valued over $67.5 million was 2.72. Theodore Eisenberg, Geoffrey Miller, &
24   Roy Germano, Attorneys’ Fees in Class Actions 2009-2013, 92 N.Y.U. L. Rev. 937, 967 (2017).
25   Class Counsel’s requested multiplier—1.86 with anticipated future time and 1.96 without, see
     13
26     A number of other courts in this District have also recently approved fee requests based on
     similar hourly rates. See, e.g., In re Anthem, Inc. Data Breach Litig., No. 15-MD-02617-LHK,
27   2018 WL 3960068, at *17 (N.D. Cal. Aug. 17, 2018); In re Intuit Data Litig., No. 15-CV-1778-
     EJD-SVK, 2019 WL 2166236, at *1 (N.D. Cal. May 15, 2019); Carlotti v. Asus Comput. Int’l,
28   No. 18-CV-03369-DMR, 2020 WL 3414653, at *5 (N.D. Cal. June 22, 2020).
                                                                        MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                      - 31 -        SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                            MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 41 of 45



 1   Stellings Decl. ¶¶ 23—is therefore significantly below the average multiplier awarded in similar
 2   cases and more than justified by the exceptional results in this case. See VW 2L Fee Order, 2017
 3   WL 1047834, at *5 (approving multiplier of 2.63 in 2.0-liter settlement); In re Volkswagen
 4   "Clean Diesel" Mktg., Sales Practices, & Prods. Liab. Litig., No. 2672 CRB (JSC), 2017 WL
 5   3175924, at *4 (N.D. Cal. July 21, 2017) (“VW 3L Fee Order”) (approving multiplier of 2.02 in
 6   3.0-liter settlement); In re Volkswagen "Clean Diesel" Mktg., Sales Practices, & Prods. Liab.
 7   Litig., No. 2672 CRB (JSC), 2017 WL 2178787, at *3 (N.D. Cal. May 17, 2017) (“VW/Bosch Fee
 8   Order”) (approving multiplier of 2.32 in Bosch settlement); In re Volkswagen "Clean Diesel"
 9   Mktg., Sales Practices, & Prods. Liab. Litig., No. 2672 CRB (JSC), Dkt. 7244 at 5 (March 2,
10   2020) (approving multiplier of 2.06 in Audi CO2 settlement).
11               E.     Class Counsel’s expenses are reasonable and appropriate.
12               “Class counsel are entitled to reimbursement of reasonable out-of-pocket expenses.”
13   Wakefield v. Wells Fargo & Co., No. 3:13-cv-05053 LB, 2015 WL 3430240, at *6 (N.D. Cal.
14   May 28, 2015); see also Staton, 327 F.3d at 974; Fed. R. Civ. P. 23(h). This includes expenses
15   that are reasonable, necessary, directly related to the litigation, and normally charged to a fee-
16   paying client. See, e.g., Willner v. Manpower Inc., No. 11-cv-02846-JST, 2015 WL 3863625, at
17   *7 (N.D. Cal. June 22, 2015); Buccellato v. AT&T Operations, Inc., No. C10-00463-LHK, 2011
18   WL 3348055, at *2 (N.D. Cal. June 30, 2011).
19               Here, Class Counsel seek $710,733.89 in litigation expenses, which includes $560,733.89
20   already expended by Lead Counsel and PSC firms to advance the common benefit pursuant to the
21   terms of PTO 11. Stellings Decl. ¶ 32, Tbl. 3 (breaking out the costs across categories of work
22   undertaken to advance the litigation). It also includes $150,000 that Class Counsel are responsibly
23   reserving to cover the anticipated costs associated with the future on-the-ground administration
24   and Settlement implementation efforts. Id. At 0.89% of the total Settlement value, these costs are
25   significantly less than the average costs awarded in class action settlements. Theodore Eisenberg
26   & Geoffrey P. Miller, Attorney Fees and Expenses in Class Action Settlements: 1993–2008, 7 J.
27   Empirical Legal Stud. 248, 267 (2010) (mean and median of 2.8% and 1.7% before 2002 and
28   2.7% and 1.7% thereafter); Eisenberg-Miller 2017 at 963 (mean and median of 3.9% and 1.7%
                                                                       MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                      - 32 -       SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                           MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 42 of 45



 1   since 2009).
 2               More importantly, these costs are commensurate with the stakes, complexity, and intensity
 3   of this particular litigation. This includes, for example, approximately $169,227.47 to employ
 4   technical experts on emissions system functionality, testing processes, and software programming
 5   and code analysis. These experts worked hand-in-hand with Class Counsel from the beginning of
 6   the case in, among other things: (1) designing testing protocols for the Class Counsel’s
 7   independent testing of the vehicles; (2) testing multiple vehicles several times under the various
 8   protocols; (3) evaluating and analyzing Class Counsel’s test results; (4) evaluating and analyzing
 9   the Defendants’ test protocols, data, and results; and (5) working with Class Counsel to prepare
10   for and evaluate vehicle testing in Germany, attending and monitoring the testing, and consulting
11   with Class Counsel on the results. Stellings Decl. ¶ 34. As is evident from this list, the experts’
12   involvement was significant and their contributions were critical to the litigation and resolution.
13               The costs also include the funds used to purchase vehicles for emissions and fuel economy
14   testing. These vehicles were expensive, but critical to the litigation and settlement efforts, and
15   counsel have deducted the vehicles’ reasonable projected resale value. Id. ¶ 33.
16               Other significant costs included $65,907.98 for the eDiscovery services and document
17   processing platform necessary for processing, maintaining, and analyzing the millions pages of
18   documents produced in this litigation, and $131,096.29 for travel expenses related to, among
19   other things, negotiation sessions in New York, as well as two separate, multi-day vehicle testing
20   and discovery meetings in Stuttgart and Weissach, Germany. Id. ¶¶ 35-36.
21               No doubt, this was a technical case, and it was expensive to prosecute. But, as other courts
22   have recognized, “Class Counsel had a strong incentive to keep expenses at a reasonable level
23   due to the high risk of no recovery when the fee is contingent.” Beesley v. Int’l Paper Co., No.
24   3:06-CV-703-DRH-CJP, 2014 WL 375432, at *3 (S.D. Ill. Jan. 31, 2014). This is true, and Class
25   Counsel expended only that which they believed was necessary to advance the interests of the
26   Class. The requested costs are reasonable and should be reimbursed.
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                                                                         MOTION FOR FINAL APPROVAL OF CLASS
     2456143.6
                                                       - 33 -        SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                             MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 43 of 45



 1               F.     The Settlement Class Representatives have earned the requested service
                        awards.
 2

 3               Class Counsel request service awards of $250 for each of the 33 proposed Settlement

 4   Class Representatives, to be paid from the settlement fund. Dkt. 7971-1 ¶¶ 16.2. This amount falls

 5   far below the $5,000 “presumptively reasonable” service award in this Circuit, and is well-

 6   supported by the time and efforts the proposed Representatives dedicated to prosecuting this case.

 7   CRT Antitrust Litig., 2016 WL 4126533, at *11. See also, e.g., In re Online DVD-Rental Antitrust

 8   Litig., 779 F.3d 934, 943 (9th Cir. 2015) (affirming awards of $5,000); In re Mego Fin. Corp.,

 9   213 F.3d at 463 (same). The Settlement Class Representatives have served to protect the interests

10   of the Class by, among other things: committing to investigate and prosecute this case on behalf

11   of the Class; regularly communicating with counsel to stay abreast of developments in this

12   litigation; working with counsel to review and evaluate the terms of the proposed Settlement

13   Agreement; and expressing their continued willingness to protect the Class until the Settlement is

14   approved and its administration completed. See Stellings Decl. ¶ 20. They have earned the

15   moderate service awards requested.

16   IV.         CONCLUSION
17               Settlement Class Representatives and Settlement Class Counsel respectfully request that

18   the Court certify the Settlement Class and appoint Settlement Class Counsel and Class

19   Representatives; grant final approval to the Settlement; and award $24 million in attorneys’ fees

20   and $710,733.89 in reasonable costs to be allocated by Lead Counsel among the PSC firms

21   performing work under Pretrial Order Nos. 7 and 11.

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                                                      - 34 -       SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                                           MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 44 of 45



 1   Dated: August 26, 2022               Respectfully submitted,
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     2456143.6
                                        - 35 -       SETTLEMENT AND ATTORNEYS’ FEES & COSTS
                                                                             MDL NO. 2672 CRB
     Case 3:15-md-02672-CRB Document 8032 Filed 08/26/22 Page 45 of 45



 1                                       CERTIFICATE OF SERVICE
 2               I hereby certify that, on August 26, 2022, service of this document was accomplished
 3   pursuant to the Court’s electronic filing procedures by filing this document through the ECF
 4   system.
 5
                                                     /s/ Elizabeth J. Cabraser
 6                                                   Elizabeth J. Cabraser
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